Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 1 of 92




                             Exhibit B

                             Blackline
    Case 20-3948 Document 54-1 Filed on 08/05/2 in TXSB Page 1 of 6
     Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 2 of 92



             IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION                                                    ENTERED
                                                                                                             08/05/2020

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                   §
In re:                                             §        Chapter 11
                                                   §
FIELDWOOD ENERGY LLC, et al.,                      §        Case No. 20-33948 (MI)
                                                   §
                                                   §        (Jointly Administered)
                 Debtors.11                        §        (Emergency Hearing Requested)


                INTERIMFINAL ORDER (I) AUTHORIZING DEBTORS
            (A) TO OBTAIN POSTPETITION FINANCING PURSUANT TO
   11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1) AND 364(e)
              AND (B) TO UTILIZE CASH COLLATERAL PURSUANT TO
           11 U.S.C. § 363, AND (II) GRANTING ADEQUATE PROTECTION
                TO PREPETITION SECURED PARTIES PURSUANT TO
 11 U.S.C. §§ 361, 362, 363, 364 AND 507(b) AND (III) SCHEDULING FINAL HEARING


                   PURSUANT TO BANKRUPTCY RULES 4001(b) AND (c)

     Upon the motion (the “Motion”)2 2 of Fieldwood Energy LLC (the “Borrower”) and its

 affiliated debtors, each as a debtor and debtor-in-possession (collectively, the “Debtors”) in the
above captioned cases (the “Cases”), pursuant to sections 105, 361, 362, 363(b), 363(c)(2),
364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e) and 507 of title 11 of the United States Code,
11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules 2002, 4001, 6004 and 9014 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Bankruptcy Local Rules



         1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC
(6778); Fieldwood Holdings LLC (9264); Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494);
Fieldwood Onshore LLC (3489); Fieldwood SD Offshore LLC (8786); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
         2
        Capitalized terms used herein but not otherwise defined have the meanings given to them in the DIP
Documents (as defined below).
       Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 3 of 92




for the Southern District of Texas (the “Local Bankruptcy Rules”) and the Procedures for



          1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood
Energy LLC (6778); Fieldwood Holdings LLC (9264); Fieldwood Energy Inc. (4991); Fieldwood
Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD Offshore LLC (8786);
FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon
Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline LLC (5703); and
Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000 W. Sam Houston
Parkway S., Suite 1200, Houston, TX 77042.

         2
           Capitalized terms used herein but not otherwise defined have the meanings given to
them in the DIP Documents (as defined below).




                                                          2
      Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 4 of 92
       Complex Chapter 11 Bankruptcy Cases (the “Complex Case Rules”) promulgated by the

United States Bankruptcy Court for the Southern District of Texas (the “Court”), seeking,

among other things:

       A.      authorization for the Borrower to obtain secured postpetition financing (the “DIP

Financing”) and for Fieldwood Energy Inc. (“Holdings”) and all domestic subsidiaries of the

Borrower (subject to certain exceptions set forth in the DIP Credit Agreement (as defined below)

for immaterial subsidiaries that are not Debtors) (each a “Guarantor” and collectively, the

“Guarantors”; the Guarantors collectively with the Borrower, the “Loan Parties”), to

unconditionally guaranty, on a joint and several basis, the Borrower’s obligations in connection

with the DIP Financing, consisting of a multiple-draw senior secured term loan facility (the “DIP

Facility”), in ana principal amount not to exceed $100,000,000 (the actual available principal

amount at any time being subject to those conditions set forth in the DIP Documents (as defined

below)) on the terms and conditions set forth in this Interim Order and the DIP Documents (each

as defined below), pursuant to which DIP Facility the Borrower shall, subject to entry of the

Interim Order, borrow from the DIP Lenders an aggregate principal amount equal to $10,000,000

on the Closing Date (as defined in the DIP Credit Agreement), and thereafter, on an interim

basis, upon satisfaction of all other applicable conditions precedent in the DIP Documents, be

authorized to make an additional draw of DIP Loans on or prior to the finalization of the Apache

Definitive Documents (as defined in the DIP Term Sheet) (such date, the “APA Milestone

Satisfaction Date”) in an aggregate principal amount equal to $15,000,000;

       that certain Senior Secured Debtor-in-Possession Term Loan Credit Agreement dated

August 24, 2020, among Holdings, the Borrower, the lenders from time to time thereto

(collectively, the “DIP Lenders”) and Cantor Fitzgerald Securities as B. authorization for the

Loan Parties to execute and enter into the Senior Secured Debtor-in-Possession Term Loan

Credit Agreement among Holdings, the Borrower, the lenders from time to time thereto

(collectively, the “DIP Lenders”) and Cantor Fitzgerald Securities as

                                                3
       Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 5 of 92
       CaseCase 20-3948
       A.      20-33948 DocumentDocument 54-158 FiledFiled in on TXSB 08/05/2on in 08/05/20TXSB PagePage 3 3 of of

 60 administrative agent and collateral agent (in such capacities, the “DIP Agent”; the DIP
60



Agent together with the DIP Lenders, the “DIP Secured Parties”), upon the terms and conditions

consistent in all material respects with those set forth in the DIP Term Sheet substantially in the form

attached to the Motion as Exhibit A (such term sheet, the “DIP Term Sheet”; such senior secured

debtor-in-possession term loan credit agreement, as amended, supplemented or otherwise

modified from time to time in accordance with the terms hereof and thereof, the “DIP Credit

Agreement” and, together with the schedules and exhibits attached thereto and all agreements,

documents, instruments and/or amendments executed and delivered in connection therewith,

including, without limitation, the Collateral Agreement and the Guarantee Agreement (each as

defined in the DIP Credit Agreement), each to be dated as of the Closing Date (as defined in the DIP

Credit Agreement) and dated August 24, 2020, the “DIP Documents”) and to perform all such

other and further acts as may be required in connection with the DIP Documents, and pursuant to

which DIP Facility the Borrower has borrowed from the DIP Lenders a principal amount equal

to $100,000,000 on the Closing Date (as defined in the DIP Credit Agreement);

        B.      C.       authorization for the Loan Parties to grant adequate protection to the

Prepetition Secured Parties (as defined below) under or in connection with certain of the

following agreements:

1.      1.      that certain Second Amended and Restated Credit Agreement – First Out, dated as
        of June 28, 2019 (as amended by that certain Temporary Limited Forbearance and
        Amendment, dated as of May 7, 2020 (as amended, restated, amended and restated,
        supplemented or otherwise modified prior to the date hereof) and as otherwise amended,
        supplemented or otherwise modified prior to the date hereof, and the Loan Documents
        thereunder as defined therein, the “Prepetition FLFO Credit Agreement”), among,
        inter alia, Holdings, the Borrower, the lenders party thereto (the “Prepetition FLFO
        Lenders”), Goldman Sachs Bank USA, as administrative agent (in such capacity, the
        “Prepetition FLFO Administrative Agent”) and issuing bank, and Cantor Fitzgerald
        Securities, as collateral agent (in such capacity, the “Prepetition FLFO Collateral
        Agent”, together with Prepetition FLFO Administrative Agent and their successors in
        such capacities, the “Prepetition FLFO Agents” and, the “Secured Parties” under such
        Prepetition FLFO Credit Agreement the “Prepetition FLFO Secured Parties”);

2.      that certain Amended and Restated First Lien Term Loan Agreement, dated as of April
                                                        4
    Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 6 of 92
     11, 2018 (as amended by that certain First Amendment to Amended and Restated First
     Lien Term Loan Agreement, dated as of July 5, 2018, that certain Second Amendment to
Amended
       Case 20-33948        Document 333-2 Filed in TXSB on 09/13/20 Page 7 of 92
               CaseCase 20-3948
                                                                                        2.  Ame
        nded and Restated First Lien Term Loan Agreement, dated as of November 11, 2019 and
        that certain Temporary Limited Forbearance and Amendment, dated as of May 7, 2020
        (as amended, restated, amended and restated, supplemented or otherwise modified prior
        to the date hereof), and as otherwise amended, supplemented or otherwise modified prior
        to the date hereof, and the Loan Documents thereunder as defined therein, the
        “Prepetition FLTL Credit Agreement”), among, inter alia, Holdings, the Borrower,
        the lenders party thereto from time to time (the “Prepetition FLTL Lenders”) and
        Cantor Fitzgerald Securities, as administrative agent and collateral agent (in such
        capacities, together with its successors in such capacities, the “Prepetition FLTL
        Agent” and, the “Secured Parties” under such Prepetition FLTL Credit Agreement the
        “Prepetition FLTL Secured Parties”)

3.       3.     that certain Amended and Restated Second Lien Term Loan Agreement dated as
         of April 11, 2018 (as amended by that certain Temporary Limited Forbearance and
         Amendment, dated as of May 7, 2020 (as amended, restated, amended and restated,
         supplemented or otherwise modified prior to the date hereof), and as otherwise amended,
         supplemented or otherwise modified prior to the date hereof, and the Loan Documents
         thereunder as defined therein, the “Prepetition SLTL Agreement”33), among, inter alia,
         Holdings, the Borrower, the lenders party thereto from time to time (the “Prepetition
         SLTL Lenders” 44) and Cortland Capital Markets Services LLC, as administrative agent
         and collateral agent (in such capacities, together with its successors in such capacities,
         the “Prepetition SLTL Agent”5 5 and, the “Secured Parties” under such Prepetition
         SLTL Credit Agreement the “Prepetition SLTL Secured Parties”66); and

4.       4.     that certain Decommissioning Agreement, dated as of September 30, 2013 (as
         amended, supplemented or otherwise modified prior to the date hereof, and together with
         the Existing Decommissioning Related Agreements (as defined in the DIP Credit
         Agreement), the “Apache Decommissioning Agreement”), by and among Apache
         Corporation (“APA”), Apache Shelf, Inc. (“APSH”), Apache Deepwater LLC
         (“APDW”), Apache Shelf Exploration LLC (together with APA, APSH and APDW, the
         “Apache Secured Parties”), the Borrower and GOM Shelf LLC.
         3
           The agreements described in the preceding paragraphs C.1-3 above are collectively referred to as the
“Prepetition Credit Agreements,” and all “Collateral” securing the obligations under the Prepetition Credit
Agreements described in the preceding paragraphs C.1-3 is collectively referred to as the “Prepetition Collateral”.
The Trust A NPI, Trust A-1 NPI, the Trust A Account, any interest in Trust A, the Permitted Surety Bonds or the
Letters of Credit (each as defined in the Apache Decommissioning Agreement) are collectively referred to as the


         3
          The agreements described in the preceding paragraphs B     ‎ .1-‎3 above are collectively referred to as the
“Prepetition Credit Agreements,” and all “Collateral” (as defined in each of the Prepetition Credit Agreements,
respectively) securing the obligations under the Prepetition Credit Agreements described in the preceding
paragraphs B‎ .1-‎3 is collectively referred to as the “Prepetition Collateral”. The Trust A NPI, Trust A-1 NPI, the
Trust A Account, any interest in Trust A, the Permitted Surety Bonds or the Letters of Credit (each as defined in the
Apache Decommissioning Agreement) are collectively referred to as the “Apache Collateral” and, for the
avoidance of doubt, the Prepetition Collateral does not include the Apache Collateral.
         4
           The Prepetition FLFO Lenders, the Prepetition FLTL Lenders and the Prepetition SLTL Lenders are
collectively referred to as the “Prepetition Lenders”.
         5
           The Prepetition FLFO Agents, the Prepetition FLTL Agent and the Prepetition SLTL Agent are
collectively referred to as the “Prepetition Agents”.
         6
         The Prepetition FLFO Secured Parties, the Prepetition FLTL Secured Parties and the Prepetition SLTL
Secured Parties are collectively referred to as the “Prepetition Secured Parties”.

                                                          6
       Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 8 of 92
             CaseCase 20-3948
“Apache Collateral” and, for the avoidance of doubt, the Prepetition Collateral does not include the Apache
Collateral.

         4
           The Prepetition FLFO Lenders, the Prepetition FLTL Lenders and the Prepetition SLTL Lenders are
collectively referred to as the “Prepetition Lenders”.

        5
           The Prepetition FLFO Agents, the Prepetition FLTL Agent and the Prepetition SLTL Agent are
collectively referred to as the “Prepetition Agents”.

        6
          The Prepetition FLFO Secured Parties, the Prepetition FLTL Secured Parties and the Prepetition SLTL
Secured Parties are collectively referred to as the “Prepetition Secured Parties”.




                                                        7
      Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 9 of 92
            CaseCase 20-3948
       C.    D.       subject to the restrictions set forth in the DIP Documents and this

InterimFinal Order, authorization for the Loan Parties to continue to use Cash Collateral (as

defined below) and all other Prepetition Collateral in which any of the Prepetition Secured

Parties have an interest, and the granting of adequate protection to the Prepetition Secured

Parties with respect to, inter alia, such use of their Cash Collateral and the other Prepetition

Collateral;

       D.      E.      subject to certain challenge rights of parties in interest set forth herein,

approval of certain stipulations by the Debtors with respect to the Prepetition Credit Agreements

and the liens and security interests arising therefrom;

       E.      F.      the grant of superpriority administrative claims pursuant to section

364(c)(1) of the Bankruptcy Code to the DIP Secured Parties payable from, and secured by liens

pursuant to section 364(c)(2) and 364(c)(3) of the Bankruptcy Code and priming liens pursuant

to section 364(d) of the Bankruptcy Code on, all prepetition and postpetition property of the

Loan Parties’ estates (other than certain excluded property as provided in the DIP Documents)

and all proceeds thereof (including subject only to and effective upon entry of the Final Order,

Avoidance Actions (as defined below), any and D&O Tort Claims (as defined below), but

including Avoidance Proceeds (as defined below) and D&O Tort Proceeds (as defined below),

subject only to the Carve-Out, the Permitted Prior Liens (as defined below), and the Unaltered

Senior Prepetition Liens and Rights (as defined below);

       F.      G.      the waiver of the Debtors’ right to surcharge the Prepetition Collateral and

the DIP Collateral pursuant to section 506(c) of the Bankruptcy Code and of any right of the

Debtors under the “equities of the case” exception in section 552(b) of the Bankruptcy Code

subject to the provisions set forth below;

       G.      H.      the waiver of the equitable doctrine of “marshaling” and other similar

doctrines as to the DIP Secured Parties and the Prepetition Secured Parties, subject to the

provisions set forth below;

                                                  8
     Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 10 of 92
           CaseCase 20-3948
      H.    I.       modification of the automatic stay to the extent set forth herein and in the

DIP Documents;

       J.      pursuant to Bankruptcy Rule 4001, an interim hearing (the “Interim Hearing”)

on the Motion to be held before this Court to consider entry of an order granting the Motion on

an interim basis and authorizing the Borrower to borrow from the DIP Lenders under the DIP

Documents forthwith an aggregate principal amount equal to $10,000,000 and, on or prior to the

APA Milestone Satisfaction Date, an additional principal amount equal to $15,000,000, of the

DIP Financing and the Guarantors to unconditionally guaranty such obligations owing to the DIP

Lenders under the DIP Documents on a joint and several basis (this “Interim Order”); and

       K.      that this Court schedule pursuant to Bankruptcy Rule 4001, a final hearing (the

“Final Hearing”) on the Motion to be held before this Court (and this Court having entered an

interim order on August 5, 2020 [Docket No. 58] (the “Interim Order”) to consider entry of a

final order (the “Final Order”) granting the Motion and approving the relief granted herein on a

final basis and authorizing the Borrower to forthwith borrow from the DIP Lenders under the DIP

Documents up to the full principal amount of the DIP Financing and the Guarantors to

unconditionally guaranty all obligations owing to the DIP Lenders under the DIP Documents on a

joint and several basis; and due and appropriate notice of the Motion and the InterimFinal

Hearing having been served by the Debtors on the parties identified in the Motion; and it

appearing that no other or further notice need be provided; and the Court having reviewed the

Motion; and the InterimFinal Hearing having been held by this Court on August 4September [],

2020; and the relief requested in the Motion being in the best interests of the Debtors, their

creditors and their estates and all other parties-in-interest in these Cases; and the Court having

determined that the relief requested in the Motion is necessary to avoid immediate and

irreparable harm; and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon the record made by the

Debtors in the Motion, in the declaration of John-Paul Hanson

                                                 9
Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 11 of 92
      CaseCase 20-3948




                                   10
      Case 20-33948       Document 333-2 Filed in TXSB on 09/13/20 Page 12 of 92
            (Jase Case 20-3948
       I.    of Houlihan Lokey Capital, Inc. in support of the Motion filed contemporaneously

therewith (Docket No. 23), in the Declaration of Mike Dane in Support of Chapter 11 Petitions

and Related Requests for Relief (Docket No. 29) (the “First Day Declaration”)) and at the

InterimFinal Hearing and after due deliberation and sufficient cause appearing therefor;

          IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

          1.      1.     Disposition. The relief requested in the Motion is granted on an interim

basis in accordance with the terms of this InterimFinal Order. Any objections to the Motion with

respect to the entry of this InterimFinal Order that have not been withdrawn, waived or settled,

and all reservations of rights included therein, are hereby denied and overruled on the merits.

This InterimFinal Order shall become effective immediately upon its entry.

          2.      2.     Jurisdiction. This Court has core jurisdiction over the Cases (as defined

below), this Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b)

and 1334 and the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex.

May 24, 2012) (Hinojosa, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.      3.     Committee Formation. As of the date hereof On August 18, 2020, the

United States Trustee for the Southern District of Texas (the “U.S. Trustee”) has not yet

appointed an official committee of unsecured creditors in these Cases pursuant to section 1102 of

the Bankruptcy Code (a “Creditors’ Committee”).

          4.      Notice. Proper, timely, adequate and sufficient notice of the Motion has been

provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Complex Case

Rules and the Local Bankruptcy Rules, and no other or further notice of the Motion or the entry

of this

          Final




                                                  11
      Case
       Case20-33948
             20-3948 Document
                      Document333-2        Filed on
                                    54-1 Filed   in TXSB  on in
                                                     08/05/2  09/13/20
                                                                 TXSB PagePage813ofof6092
        Case 2®- 3 3948 Document 58 Filed in TXSB on ® 8/®5/2® Page 8 of 6®
       4.    Interim Order shall be required. The interim relief granted herein is necessary to

avoid immediate and irreparable harm to the Debtors and their estates pending the Final Hearing.

           5.   5.       Debtors’ Stipulations. Without prejudice to the rights of any other party in

interest

and subject to the limitations thereon contained in paragraphs 23 and 24 ‎24 below, the Debtors

admit, stipulate and agree that:

                     (a) (i) (i) as of the date (the “Petition Date”) of the filing of the Cases, the

    Borrower and the guarantors under the relevant Prepetition Credit Agreement (such

    guarantors collectively, the “Prepetition Guarantors”) were justly and lawfully indebted

    and liable to (A) the Prepetition FLFO Secured Parties, without defense, counterclaim or

    offset of any kind, in the aggregate principal amount of not less than $147,601,297 in respect

    of loans made and undrawn letters of credit issued under, and in accordance with the terms

    of, the Prepetition FLFO Credit Agreement, plus accrued and unpaid interest thereon and

    fees (including the prepayment fees payable pursuant to the Prepetition FLFO Credit

    Agreement), reimbursement obligations in respect of drawn letters of credit, expenses

    (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in each case,

    solely to the extent that they are chargeable or reimbursable under the Prepetition FLFO

    Credit Agreement), charges, indemnities and other obligations incurred in connection

    therewith (whether arising before or after the Petition Date) as provided in the Prepetition

    FLFO Credit Agreement (collectively, the “Prepetition FLFO Debt”), which Prepetition

    FLFO Debt has been guaranteed on a joint and several basis by the guarantors under the

    Prepetition FLFO Credit Agreement; (B) the Prepetition FLTL Secured Parties, without

    defense, counterclaim or offset of any kind, in the aggregate principal amount of not less than

    $1,142,688,815.28 in respect of loans made under, and in accordance with the terms of, the




                                                    12
  Case Case
       20-33948
           Case      Document 333-2 Filed in TXSB on 09/13/20 Page 14 of 92
                20-3948



Prepetition FLTL Credit Agreement, plus accrued and unpaid interest thereon and fees,

expenses (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in

each case, solely to the extent that they are chargeable or reimbursable under the Prepetition

FLTL Credit Agreement), charges, indemnities and other obligations incurred in connection

therewith (whether arising before or after the Petition Date) as provided in the Prepetition

FLTL Credit Agreement (collectively, the “Prepetition FLTL Debt”), which Prepetition

FLTL Debt has been guaranteed on a joint and several basis by the guarantors under the

Prepetition FLTL Credit Agreement; (C) the Prepetition SLTL Secured Parties, without

defense, counterclaim or offset of any kind, in the aggregate principal amount of not less than

$517,500,000 in respect of loans made under, and in accordance with the terms of, the

Prepetition SLTL Credit Agreement, plus accrued and unpaid interest thereon and fees,

expenses (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees, in

each case, solely to the extent that they are chargeable or reimbursable under the Prepetition

SLTL Credit Agreement), charges, indemnities and other obligations incurred in connection

therewith (whether arising before or after the Petition Date) as provided in the Prepetition

SLTL Credit Agreement (collectively, the “Prepetition SLTL Debt” and, together with the

Prepetition FLFO Debt and the Prepetition FLTL Debt, the “Prepetition Debt”), which

Prepetition SLTL Debt has been guaranteed on a joint and several basis by the guarantors

under the Prepetition SLTL Credit Agreement, (ii) (ii) the Prepetition Debt constitutes the

legal, valid and binding obligations of the Borrower and the applicable Prepetition

Guarantors, enforceable in accordance with its terms (other than in respect of the stay of

enforcement arising from section 362 of the Bankruptcy Code); and (iii) (iii) no portion of the

Prepetition Debt or any payments made to the Prepetition Secured Parties or applied to or

paid on account of



                                             13
Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 15 of 92
Case(Jase
      20-33948
          Case
               20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 16 of 92
                 (b) the obligations owing under the Prepetition Credit Agreements prior to the

Petition Date is subject to any contest, attack, rejection, recovery, recoupment, reduction,

defense, counterclaim, offset, subordination, recharacterization, avoidance or other claim,

cause of action or other challenge of any nature under the Bankruptcy Code or applicable

non-bankruptcy law;

                 (c) (b) the liens and security interests granted to the Prepetition Secured

Parties (the “Prepetition Liens”) pursuant to and in connection with the Prepetition Credit

Agreements, are: (i) (i) valid, binding, perfected, enforceable liens and security interests in

the Prepetition Collateral; (ii) (ii) not subject to avoidance, recharacterization, subordination,

recovery, attack, effect, counterclaim, defense or claim under the Bankruptcy Code or

applicable non-bankruptcy law; and (iii) (iii) as of the Petition Date are subject and

subordinate only to valid, non-avoidable liens permitted underthat are entitled to priority

senior to the Prepetition Credit Agreements thatLiens under applicable law and (A) were

perfected as of the Petition Date or (B) were in existence immediately prior to the Petition

Date and are perfected subsequent to the Petition Date as permitted by section 546(b) of the

Bankruptcy Code, to the extent that such permitted liens are senior to liens in favor of the

Prepetition FLFO Secured Parties and the Prepetition FLTL Secured Parties (the “Permitted

Prior Liens”);

                 (d) (c) by virtue of any of the actions taken with respect to, in connection

with, related to or arising from the Prepetition Debt, none of the Prepetition Secured Parties

control the Debtors or their properties or operations, have authority to determine the manner

in which any Debtor’s operations are conducted or are control persons or insiders of the

Debtors;




                                             15
  CaseCase
       20-33948
          Case
               20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 17 of 92
                 (e) (d) the liens granted to the DIP Agent on behalf of the DIP Secured Parties

  pursuant to this InterimFinal Order are perfected, valid, enforceable and non-avoidable liens

  against the Debtors;

                  (f) (e) no claims or causes of action exist against, or with respect to, the

  Prepetition Secured Parties under any agreements by and among the Debtors and any such

  party that is in existence as of thethe PPrepetition DateCredit Agreements;

               (f) effective as of the date of entry of this InterimFinal Order, each of the

Debtors and the Debtors’ estates, on its own behalf and on behalf of its past, present and

future predecessors, successors, subsidiaries, heirs and assigns, hereby absolutely and

unconditionally release and forever discharge and acquit the DIP Secured Parties and

Prepetition Secured Parties and their respective Representatives (as defined below)

(collectively, the “Released Parties”) from any and all obligations and liabilities to the

Debtors (and their successors and assigns) and from any and all claims, demands, liabilities,

responsibilities, disputes, remedies, causes of action, indebtedness and obligations, rights,

assertions, allegations, actions, suits, controversies, proceedings, losses, damages, injuries,

attorneys’ fees, costs, expenses, or judgments of every type, whether known, unknown,

asserted, unasserted, suspected, unsuspected, accrued, unaccrued, fixed, contingent, pending,

or threatened (collectively, the “Released Claims”) including, without limitation, all legal

and equitable theories of recovery, arising under common law, statute or regulation or by

contract, of every nature and description that exist on the date hereof relating to any of the

Prepetition Credit Agreements, or the transactions contemplated thereunder, the negotiation

thereof and of the deal reflected thereby, and the obligations and financial obligations made

thereunder, in each case that the Debtors at any time had, now have or may have, or that their




                                              16
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 18 of 92
               20-3948
                 (g) successors or assigns hereafter can or may have against any of the

  Released Parties for or by reason of any act, omission, matter, cause or thing whatsoever

  arising at any time on or prior to the date of this InterimFinal Order, whether such Released

  Claims are matured or unmatured or known or unknown;

                  (h) (g) (i) that certain Pari Passu Intercreditor Agreement dated as of April

  11, 2018 (as amended by that certain Joinder No. 4 dated as of June 28, 2019 and as

  otherwise amended, supplemented or otherwise modified from time to time prior to the date

  hereof, the “First Lien Pari Passu Intercreditor Agreement”), and (ii) that certain

  Intercreditor Agreement, dated as of April 11, 2018 (as amended, supplemented or otherwise

  modified from time to time prior to the date hereof, the “Second Lien Intercreditor

  Agreement” and, together with the First Lien Pari Passu Intercreditor Agreement, the

  “Intercreditor Agreements”), are binding and enforceable against the Borrower, Prepetition

  Guarantors, and the Prepetition Secured Parties party thereto, in accordance with their terms,

  and the Borrower, Prepetition Guarantors, and Prepetition Secured Parties are not entitled to

  take any actions that would be contrary to the provisions thereof; and

               (h) all cash, securities or other property of the Loan Parties (and the proceeds

therefrom) as of the Petition Date, including, without limitation, all cash, securities or other

property (and the proceeds therefrom) and other amounts on deposit or maintained by the

Loan Parties in any account or accounts with any Prepetition Secured Party or any branch or

agency thereof (the “Depository Institutions”) were subject to rights of set-off under the

Prepetition Credit Agreements and applicable law, for the benefit of the Prepetition Secured

Parties. All proceeds of the Prepetition Collateral (including cash on deposit at the

Depository Institutions as of the Petition Date, securities or other property, whether subject to




                                              17
  Case(Jase
        20-33948
            Case       Document 333-2 Filed in TXSB on 09/13/20 Page 19 of 92
                 20-3948
                   (i) control agreements or otherwise, in each case that constitutes Prepetition

  Collateral) are “cash collateral” of the Prepetition Secured Parties within the meaning of

  section 363(a) of the Bankruptcy Code (the “Cash Collateral”).

     6.      6.      Findings Regarding the DIP Financing and Cash Collateral.

                  (a) (a) Good and sufficient cause has been shown for the entry of this

  InterimFinal Order.

                  (b) (b) The Loan Parties have an immediate need to continue to use the

  Prepetition Collateral (including the Cash Collateral) to preserve their estates, including (i) to

  consummate the prenegotiated plan contemplated under the “Restructuring Support

  Agreement” filed as Exhibit B to the First Day Declaration, (ii) for the orderly continuation

  of the operation of their businesses, (iii) to preserve business relationships with vendors,

  suppliers, employees, and customers, and (iv) to satisfy other working capital and operational

  needs. The Loan Parties have an immediate need to have available the DIP Facility in case

  the Prepetition Collateral (including Cash Collateral) is insufficient to meet their capital and

  liquidity needs. The access of the Loan Parties to sufficient working capital and liquidity

  through the use of Cash Collateral and other Prepetition Collateral, incurrence of new

  indebtedness under the DIP Documents and other financial accommodations provided under

  the DIP Documents are necessary and vital to the preservation and maintenance of the going

  concern values of the Loan Parties and to a successful reorganization of the Loan Parties.

               (c) The Loan Parties are unable to obtain financing on more favorable terms

from sources other than the DIP Lenders under the DIP Documents and are unable to obtain

adequate unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an

administrative expense. The Loan Parties are also unable to obtain secured credit allowable




                                              18
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 20 of 92
               20-3948
                 (c) under sections 364(c)(1), 364(c)(2) and 364(c)(3) of the Bankruptcy Code

  without the Loan Parties granting to the DIP Agent and the DIP Lenders, subject to the

  Carve-Out, the DIP Liens and the DIP Superpriority Claims (as defined below) and incurring

  the Adequate Protection, in each case, under the terms and conditions set forth in this

  InterimFinal Order and in the DIP Documents.

                   (d) (d) Based on the Motion, the declarations filed in support of the Motion,

  and the record presented to the Court at the InterimFinal Hearing, the terms of the DIP

  Financing, the terms of the Adequate Protection granted to the Prepetition Secured Parties,

  and the terms on which the Loan Parties may continue to use the Prepetition Collateral

  (including Cash Collateral) pursuant to this InterimFinal Order and the DIP Documents are

  fair and reasonable, reflect the Loan Parties’ exercise of prudent business judgment

  consistent with their fiduciary duties and constitute reasonably equivalent value and fair

  consideration.

                   (e) (e) Upon the terms and conditions set forth herein, the Prepetition Secured

  Parties have consented, or pursuant to the Intercreditor Agreements are deemed to have

  consented, to the use of Cash Collateral and the other Prepetition Collateral, the Debtors’

  entry into the DIP Documents and, in the case of the Prepetition Secured Parties, the priming

  of the liens granted to the Prepetition Secured Parties pursuant to Section 364(d)(1) of the

  Bankruptcy Code.

               (f) The DIP Financing, as well as the terms of the Adequate Protection and

Adequate Protection Liens (each as defined below), and the use of the Prepetition Collateral

(including Cash Collateral) have been negotiated in good faith and at arm’s length among the

Loan Parties, the DIP Agent and the DIP Lenders and all of the Loan Parties’ obligations and

indebtedness arising under, in respect of, or in connection with, the DIP Financing and the




                                              19
  Case 20-33948
     (Jase Case
                20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 21 of 92



DIP Documents, including, without limitation: (i) (i) all loans made to and guarantees issued

by the Loan Parties pursuant to the DIP Documents (collectively, the “DIP Loans”) and (ii)

any “Loan Obligations” (as defined in the DIP Credit Agreement) of the Loan Parties owing

to the DIP Agent, any DIP Lender or any of their respective affiliates, in accordance with the

terms of the DIP Documents, including any obligations, to the extent provided for in the DIP

Documents, to indemnify the DIP Agent or the DIP Lenders and to pay any fees, expenses

(including any attorneys’, accountants’, appraisers’ and financial advisors’ fees that are

chargeable or reimbursable under the DIP Documents), amounts, charges, costs, indemnities

and other obligations that are chargeable or reimbursable under this Interim Order, the Final

Order or the DIP Documents (the foregoing in clauses (i) (‎ i) and (ii) collectively, the “DIP

Obligations”), shall be deemed to have been extended by the DIP Agent and the DIP Secured

Parties and their respective affiliates in good faith, as that term is used in section 364(e) of the

Bankruptcy Code and in express reliance upon the protections offered by section 364(e) of the

Bankruptcy Code, and the DIP Agent and the DIP Lenders (and the successors and assigns

thereof) shall be entitled to the full protection of section 364(e) of the Bankruptcy Code in the

event that this InterimFinal Order or any provision hereof is vacated, reversed or modified, on

appeal or otherwise. The Prepetition Secured Parties have acted in good faith regarding the

DIP Financing and the Loan Parties’ continued use of the Prepetition Collateral (including the

Cash Collateral) to fund the administration of the Loan Parties’ estates and continued

operation of their businesses (including the incurrence and payment of the Adequate

Protection and the granting of the Adequate Protection Liens), in accordance with the terms

hereof, and the Prepetition Secured Parties (and the successors and assigns thereof), and shall

be entitled to the full protection of section 363(m) of the Bankruptcy Code




                                              20
     Case(Jase
           20-33948
               Case
                    20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 22 of 92
                      (f) in the event that this InterimFinal Order or any provision hereof is vacated,

     reversed or modified, on appeal or otherwise.

                    (g) (g) The Prepetition Secured Parties are entitled to the Adequate Protection

     as and to the extent set forth herein pursuant to sections 361, 362, 363 and 364 of the

     Bankruptcy Code to the extent of any diminution in value of the Prepetition Collateral.

     Based on the Motion and on the record presented to the Court, the terms of the proposed

     adequate protection arrangements and of the use of the Prepetition Collateral (including the

     Cash Collateral) are fair and reasonable, reflect the Loan Parties’ prudent exercise of

     business judgment and constitute reasonably equivalent value and fair consideration for the

     use of Cash Collateral; provided that nothing in this InterimFinal Order or the other DIP

     Documents shall (x) be construed as the affirmative consent by any of the Prepetition

     Secured Parties for the use of Cash Collateral, other than on the terms set forth in this

     InterimFinal Order and in the context of the DIP Financing authorized by this InterimFinal

     Order, (y) be construed as a consent by any party to the terms of any other financing or any

     other lien encumbering the Prepetition Collateral (whether senior or junior) or (z) prejudice,

     limit or otherwise impair the rights of any of the Prepetition Secured Parties, subject to any

     applicable provisions of the Intercreditor Agreements and upon a change in circumstances, to

     seek new, different or additional adequate protection or assert the interests of any of the

     Prepetition Secured Parties.

                  (h) The Debtors have requested immediate entry of this InterimFinal Order

pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and the Local Bankruptcy Rules.

For the reasons set forth in the Motion and declarations filed in connection therewith, absent

granting the relief set forth in this InterimFinal Order, the Loan Parties’ estates would face

(i) significant business disruptions from the loss of access to Cash Collateral, (ii) exposure

to




                                                21
  Case(Jase
        20-33948
            Case
                 20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 23 of 92
                   (h) significant liquidity uncertainty in the current commodities market, and

  (iii) loss of confidence regarding financial wherewithal by stakeholders, all of which would

  lead to immediate and irreparable harm. Consummation of the DIP Financing and the use of

  Prepetition Collateral, including Cash Collateral, in accordance with this InterimFinal Order

  and the DIP Documents are therefore in the best interests of the Loan Parties’ estates and

  consistent with the Loan Parties’ exercise of their fiduciary duties.

      7.     7.        Authorization of the DIP Financing and the DIP Documents.

                  (a) The Loan Parties are hereby authorized to execute, enter into and perform

all obligations under the DIP DocumentsDIP Financing is approved on a final basis. The

Borrower is hereby authorized to forthwith borrow up to the full principal amount of money

pursuant to the DIP Credit Agreement, and the Guarantors are hereby authorized, on an

interim basis, to guaranty the Borrower’s obligations with respect to such borrowings in an

aggregate principal or face amount equal to $10,000,000, and thereafter, on or prior to the

APA Milestone Satisfaction Date, in an additional aggregate principal amount equal to

$15,000,000, under the DIP Facility (plus interest, fees, expenses (including professional fees

and expenses) and other amounts, in each case, as provided for in the DIP Documents),

subject to any limitations on borrowing under the DIP Documents, which shall be used for all

purposes permitted under the DIP Documents (and subject to the terms and conditions set

forth herein and therein), including to (v) make payments for general corporate or working

capital purposes in a manner consistent with the then-current Approved Budget (as defined in

the DIP Term SheetCredit Agreement) subject to permitted variances, (w) pay required debt

service on the DIP Loans, (x) pay the fees, costs and expenses of the DIP Agent and the DIP

Lenders, (y) pay fees, costs and expenses of professionals associated with the Cases and (z)




                                              22
     Case(Jase
           20-33948
               Case       Document 333-2 Filed in TXSB on 09/13/20 Page 24 of 92
                    20-3948
                    (a) provide adequate protection as provided in paragraphs 14 1‎ 4 through 21

   2‎ 1 of this InterimFinal Order (the “Adequate Protection”).


                    (b) In furtherance of the foregoing and without further approval of this Court,
                   (b) each Debtor is authorized and directed to perform all acts, to make,

   execute and deliver all agreements, instruments and documents (including, without

   limitation, the execution or recordation of security agreements, mortgages and financing

   statements), and to pay all fees and expenses and to undertake all actions that may be

   reasonably required or necessary for the Loan Parties’ performance of their obligations under

   or related to the DIP Financing, including, without limitation:


                       (i)     the execution and delivery of, and performance under, each of the
                      (i)      DIP Documents;

                      (ii)    (ii)    the execution and delivery of, and performance under, one

or more amendments, waivers, consents or other modifications or supplements to and under the

DIP Documents, in each case, in such form as the Loan Parties, the DIP Agent and the Required

Lenders (as defined in the DIP Credit Agreement) may agree, it being understood that no further

approval of the Court shall be required for authorizations, amendments, waivers, consents or

other modifications or supplements to and under the DIP Documents (and any fees and other

expenses (including any attorneys’, accountants’, appraisers’ and financial advisors’ fees),

amounts, charges, costs, indemnities and other obligations paid in connection therewith) that do

not shorten the maturity of the extensions of credit thereunder or increase the aggregate

commitments or the rate of interest payable thereunder; provided that the Creditors’ Committee

shall be provided with any such amendments, waivers, consents or other modifications or

supplements to and under the DIP Documents at least five (5) days (or such later date as the

Creditors’ Committee may agree) prior to the execution or delivery thereof (unless exigent

circumstances prevent the Debtors from providing 5 days prior notice, in which case the Debtors



                                                23
      Case(Jase
            20-33948
                Case       Document 333-2 Filed in TXSB on 09/13/20 Page 25 of 92
                     20-3948
shall provide as much notice as possible) and the Creditors’ Committee’s right to object to any of

the foregoing shall be expressly preserved;

                       (iii) the non-refundable payment to the DIP Agent or the DIP Lenders, as

the case may be, of all fees including, without limitation, any upfront fee, backstop fee,

commitment fee, seasoning fee or agency fee (which fees shall be, and shall be deemed to have




                                                 24
     Case(Jase
           20-33948
               Case
                    20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 26 of 92
                        (iii) been, approved upon entry of this InterimFinal Order and upon

payment thereof, shall not be subject to any contest, attack, rejection, recoupment, reduction,

defense, counterclaim, offset, subordination, recharacterization, avoidance or other claim, cause

of action or other challenge of any nature under the Bankruptcy Code, under applicable non-

bankruptcy law or otherwise), and any amounts due (or that may become due) in respect of the

indemnification obligations, in each case referred toprovided for in the DIP Credit Agreement

(and in any separate letter agreements between any or all Loan Parties, on the one hand, and the

DIP Agent and/or DIP Lenders, on the other, in connection with the DIP Financing) and the costs

and expenses as may be due from time to time, including, without limitation, fees and expenses

of the professionals retained by any of the DIP Agent or DIP Lenders (including, without

limitation, the documented fees and expenses of Shipman & Goodwin LLP, as counsel to the

DIP Agent, Davis Polk & Wardwell LLP as primary counsel to certain DIP Lenders, Haynes and

Boone LLP as local counsel to certain DIP Lenders in the State of Texas, Gordon, Arata,

Montgomery, Barnett, McCollam, Duplantis & Eagan, LLC as regulatory counsel to certain DIP

Lenders and Rothschild & Co US Inc. and Intrepid Partners, LLC as financial advisors to certain

DIP Lenders), in each case, as provided for in the DIP Documents, without the need to file

retention motions or fee applications or to provide notice to any party, subject to paragraph 14(e)

hereof; and

                       (iv)     (iv) the performance of all other acts required under or in

connection with the DIP Documents, including the granting of the DIP Liens and DIP

Superpriority Claims and perfection of the DIP Liens and the DIP Superpriority Claims as

permitted herein and therein.

     (c) Upon execution and delivery of the DIP Documents, the DIP Documents shall constitute

                    valid, binding and non-avoidable obligations of the Loan Parties, enforceable




                                                  25
  Case(Jase
        20-33948
            Case       Document 333-2 Filed in TXSB on 09/13/20 Page 27 of 92
                 20-3948
                   (c) against each Loan Party in accordance with the terms of the DIP

  Documents and this InterimFinal Order. No obligation, payment, transfer or grant of security

  under the DIP Documents or this InterimFinal Order to the DIP Agent and/or the DIP

  Lenders shall be stayed, restrained, voidable or recoverable under the Bankruptcy Code or

  under any applicable law (including, without limitation, under sections 502(d), 548 or 549 of

  the Bankruptcy Code, any applicable Uniform Voidable Transfer Act, Uniform Fraudulent

  Transfer Act, Uniform Fraudulent Conveyance Act or other similar state statute or common

  law), or subject to any defense, reduction, setoff, recoupment, recharacterization,

  subordination, disallowance, impairment, cross-claim, claim or counterclaim, subject to

  paragraph 14(e) hereof, as applicable.

      8.     8.        DIP Superpriority Claims.

                  (a) Pursuant to section 364(c)(1) of the Bankruptcy Code, all of the DIP

Obligations shall constitute allowed superpriority administrative expense claims against the

Loan Parties (without the need to file any proof of claim) with priority over any and all

claims against the Loan Parties, now existing or hereafter arising, of any kind whatsoever,

including, without limitation, any and all administrative expenses or other claims arising

under sections 105, 326, 328, 330, 331, 365, 503(b), 506(c), 507(a), 507(b), 726, 1113 or

1114 of the Bankruptcy Code, whether or not such expenses or claims may become secured

by a judgment lien or other non-consensual lien, levy or attachment, which allowed claims

(the “DIP Superpriority Claims”) shall for purposes of section 1129(a)(9)(A) of the

Bankruptcy Code be considered administrative expenses allowed under section 503(b) of the

Bankruptcy Code, and which DIP Superpriority Claims shall be payable from and have

recourse to all pre- and postpetition property of the Loan Parties and all proceeds thereof

(excluding (i) commercial tort claims against the Debtors’ officers and directors (“D&O

Tort Claims”) and (ii) the Loan Parties’ avoidance claims and causes of action under

sections 105, 502(d), 544, 545,

                                              26
Case(Jase
      20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 28 of 92
               20-3948




                                    27
  Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 29 of 92
       CaseCase 20-3948
                (a) 547, 548, 549 and 550 of the Bankruptcy Code, or any other avoidance

  actions under any other state or federal law or the Bankruptcy Code (collectively,

  “Avoidance Actions”), but subject only to and effective upon entry of the Final Order,

  including (x) any proceeds or property recovered, unencumbered or otherwise from

  Avoidance Actions, whether by judgment, settlement or otherwise (“Avoidance Proceeds”)

  and (y) any proceeds or property recovered, unencumbered or otherwise from D&O Tort

  Claims, whether by judgment, settlement or otherwise (“D&O Tort Proceeds”), provided

  that the DIP Superpriority Claims shall be subordinated and subject only to payment of the

  Carve-Out. The DIP Superpriority Claims shall be entitled to the full protection of section

  364(e) of the Bankruptcy Code in the event that this InterimFinal Order or any provision

  hereof is vacated, reversed or modified, on appeal or otherwise.

                (b) For purposes hereof, the “Carve-Out” is an amount equal to the sum of

(i) all fees required to be paid to the clerk of the Court and to the Office of the United States

Trustee under section 1930(a) of title 28 of the United States Code plus interest at the

statutory rate (without regard to the notice set forth in (iii) below); (ii) all reasonable fees and

expenses incurred by a chapter 7 trustee under section 726(b) of the Bankruptcy Code in an

amount not to exceed $100,000 (without regard to the notice set forth in (iii) below); and (iii)

(A) all unpaid claims for fees, costs, disbursements and expenses to the extent allowed at any

time, whether by interim order, final order, procedural order or otherwise of persons or firms

retained by the Debtors or the Creditors’ Committee (if appointed) pursuant to sections 105,

327, 328 or, 363 , 503 or 1129 of the Bankruptcy Code (collectively, the “Professional

Fees”) incurred at any time on or prior to the Trigger Notice, plus (B) Professional Fees

incurred after the Trigger Notice in an amount not to exceed $6,000,000, of professionals

retained by the Debtors and the Creditors’ Committee (if appointed); provided, that under no

circumstances shall any success, completion, or similar fees be payable from the Carve-Out




                                               28
  Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 30 of 92
        CaseCase 20-3948
following delivery of a




                 (b) Trigger Notice (the “Carve-Out Cap”), in each case subject to the limits

  imposed by this Interim Order, the Final Order (if and when entered) or otherwise on

  Professional Fees permitted to be incurred in connection with any permitted investigation of

  the claims, liens and defenses against any Prepetition Secured Party; provided, that nothing

  herein shall be construed to impair the ability of any party to object to the fees, expenses,

  reimbursement or compensation described in clauses (i), (ii), (iii)(A) or (iii)(B) above, on any

  other grounds. “Trigger Notice” shall mean a written notice delivered by the DIP Agent, at

  the direction of the Required Lenders under the DIP Documents, to the Debtors, counsel to

  the Creditors’ Committee and the U.S. Trustee, describing the event of default that is alleged

  to continue under the DIP Documents. Immediately upon delivery of a Trigger Notice, and

  prior to the payment to any Prepetition Secured Party on account of the Adequate Protection

  or otherwise, the Debtors shall be required to deposit, in a segregated interest-bearing

  account not subject to the control of the DIP Agent or the Prepetition Agents (the “Carve-

  Out Account”), an amount equal to the Carve-Out Cap. The funds on deposit in the Carve-

  Out Account shall be available only to satisfy obligations benefitting from the Carve-Out,

  and the DIP Agent and the Prepetition Agents, each on behalf of itself and the relevant

  secured parties, (i) shall not sweep or foreclose on cash of the Debtors necessary to fund the

  Carve-Out Account and (ii) shall have a security interest upon any residual interest in the

  Carve-Out Account available following satisfaction in cash in full of all obligations

  benefitting from the Carve-Out.

                (c) Notwithstanding the foregoing, (x) the Carve-Out shall not include, apply

to or be available for any fees or expenses incurred by any party in connection with (a) the

investigation, initiation or prosecution of any claims, causes of action, adversary proceedings


                                             29
  Case 20-33948         Document 333-2 Filed in TXSB on 09/13/20 Page 31 of 92
          CaseCase 20-3948
or other litigation, or assertions of any defense or counterclaim, against any of the DIP




                                            30
 Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 32 of 92
      CaseCase 20-3948
            (a) Lenders, the DIP Agent, and after the expiration of the Challenge Period,

the Prepetition Lenders or each of the Prepetition Agents, each in such capacity, and their

respective agents, attorneys, advisors or representatives, including challenging the amount,

validity, perfection, priority or enforceability of or asserting any defense, counterclaim or

offset to, the obligations and the liens and security interests granted under the DIP

Documents or the Prepetition Credit Agreements (whether in such capacity or otherwise),

including, in each case, without limitation, for lender liability or pursuant to section 105,

506(c), 510, 544, 547, 548, 549, 550, or 552 of the Bankruptcy Code, applicable non-

bankruptcy law or otherwise; (b) attempts to modify any of the rights granted to the DIP

Lenders, the DIP Agent or the Prepetition Secured Parties; (c) attempts to prevent, hinder or

otherwise delay any of the DIP Lenders’ or the DIP Agent’s assertion, enforcement or

realization upon any DIP Collateral or Prepetition Collateral in accordance with the DIP

Documents and the Final Order other than to seek a determination that an Event of Default

(as defined in the DIP Credit Agreement) has not occurred or is not continuing; or (d) paying

any amount on account of any claims arising before the commencement of the Cases unless

such payments are approved by an order of the Court, including the Final Order, and (y) prior

to the delivery of the Trigger Notice, the Carve-Out shall not be reduced by the payment or

incurrence of Professional Fees allowed at any time by the Court. Further, notwithstanding

anything to the contrary in this InterimFinal Order, nothing contained in this Final Order, any

Approved Budget or any other DIP Documents shall in any way constitute a cap or limitation

on the amount of fees and expenses that the Creditors’ Committee may incur and seek

payment of as an administrative expense claim, and all such rights are expressly preserved.

Further, notwithstanding anything to the contrary in this Final Order, the failure of the Carve-

Out Account to satisfy in full the Professional Fees shall not affect the priority of the Carve-

Out. For the avoidance of doubt, nothing herein shall modify or limit the rights of the Loan




                                             31
     Case 20-33948         Document 333-2 Filed in TXSB on 09/13/20 Page 33 of 92
             CaseCase 20-3948
    Parties set forth in the DIP Credit Agreement or limit their use of the Carve-Out in

    connection with such rights.

        9.      DIP Liens. As security for the DIP Obligations, effective and perfected upon the

Closing Date date of this Interim Order and without the necessity of the execution, recordation

of filings by the




                                                32
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 34 of 92
          CaseCase 20-3948
      9.    Loan Parties of mortgages, security agreements, control agreements, pledge

agreements, financing statements or other similar documents, any notation of certificates of title

for a titled good, or the possession or control by the DIP Agent of, or over, any DIP Collateral,

the following security interests and liens are hereby granted to the DIP Agent for its own benefit

and the benefit of the DIP Lenders (all property identified in clauses (a), (b), (c) and (d) below

being collectively referred to as the “DIP Collateral”; provided, that for the avoidance of doubt,

the Apache Collateral shall not constitute DIP Collateral and the DIP Collateral shall be subject

to the provisions of paragraphs 14(h) and 15(f) herein), in each case subject to the payment of the

Carve-Out (all such liens and security interests granted to the DIP Agent, for its benefit and for

the benefit of the DIP Lenders, pursuant to this InterimFinal Order and the DIP Documents, the

“DIP Liens”):

                   (a) First Lien On Unencumbered Property. Pursuant to section 364(c)(2) of

   the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected first priority

   senior security interest in and lien upon all tangible and intangible pre- and postpetition

   property of the Loan Parties, whether existing on the Petition Date or thereafter acquired,

   that, on or as of the Petition Date, is not subject to either (x) valid, perfected and non-

   avoidable liens as of the Petition Date, or (y) valid and non-avoidable liens in existence at the

   time of such commencement that are perfected subsequent to such commencement as

   permitted by Section 546(b) of the Bankruptcy Code (collectively, “Unencumbered

   Property”), in each case other than: (i) the Excluded Assets and Excluded Equity Interests

   (each as defined in the DIP Credit Agreement), but including any proceeds of Excluded

   Assets and Excluded Equity Interests that do not otherwise constitute Excluded Assets or




                                                 33
  Case 20-33948   Document
        Case 20-3948        333-2 54-1
                        Document     FiledFiled
                                            in TXSB     on 09/13/20
                                                  on 08/05/2         PagePage
                                                                in TXSB    35 of 25
                                                                                 92 of 60
         Case 2®- 3 3948 Document 58 Filed in TXSB on ® 8/®5/2® gage 25 of 6®
               (a) Excluded Equity Interests and, (ii) theD&O Tort Claims, and (iii) Avoidance

   Actions, but subject only to and effectiveincluding the Avoidance Proceeds and D&O Tort Proceeds;


upon entry of the Final Order, including the Avoidance Proceeds;
               (b) Liens Priming Certain Prepetition Liens. Pursuant to section 364(d)(1) of

the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected senior

priming security interest in and lien upon all pre- and postpetition property of each Loan

Party whether now existing or hereafter acquired, of the same

                    (b) nature, scope and type as the collateral securing the Prepetition Debt; provided,

   that such lien shall be (i) junior to the Permitted Prior Liens and the Unaltered Senior Prepetition

   Liens and Rights and (ii) pari passu with valid and perfected liens in favor of hedge counterparties in

   connection with secured hedging transactions entered into by the Debtors on a post-petition basis in

   accordance with the DIP Documents (the “Hedging Liens”). Such security interests and liens shall

   be senior in all respects to the interests of the Prepetition Secured Parties in such property arising

   from current and future liens of the Prepetition Secured Parties (including, without limitation, the

   Adequate Protection Liens granted to the Prepetition Secured Parties) (collectively, the “Primed

   Liens”); provided, however, that the DIP Liens shall not be secured by the Apache Collateral and the

   rights of the Apache Secured Parties set forth in the Restructuring Support Agreement are not

   amended or modified by the terms of this InterimFinal Order; provided, further, that, for the avoidance

   of doubt, nothing herein provides that the DIP Liens are deemed to prime any valid, non-non-

   avoidable (j) liens, including avoidable statutory liens or, contractual rights that (A) statutory rightsliens, or

   otherwise (but excluding Primed Liens), or rights that were perfected and entitled to priority senior to
  Case  20-33948Liens
   the Prepetition Document
                      as of the333-2
                                PetitionFiled
                                         Date;inor TXSB    on 09/13/20
                                                   (B)k) liens,           Page 36rights
                                                                including statutory of 92
                                                                                        liens, contractual

    liens, or otherwise (but excluding Primed Liens), or contractual rights entitled to priority senior to the

    Prepetition Liens that were in existence immediately prior to the Petition Date and are perfected

    subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code and the rights;

    (l) privileges under Louisiana state law that are entitled to priority senior to the Prepetition Liens for

    which valid statements of privilege either were filed prior to the Petition Date or may be filed

    subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code; (m) valid,

    contractual setoff rights (A) that were in existence at the Petition Date, (B) of any person other than

    Prepetition Secured Parties, and (C) not contractually or legally subject or subordinate to the

    Prepetition Liens; or (n) valid recoupment rights (A) of any person other than Prepetition Secured

    Parties and (B) that are not contractually or legally subject or subordinate to the Prepetition Liens.

    The liens and rights in the forgoing subsections (j) - (n), collectively, shall herein be referred to as the

    “Unaltered Senior Prepetition Liens and Rights.”


of any party asserting such statutory lien (if any) are not amended or modified under this Interim Order with

respect to such statutory lien; or (C) contractual rights of any non RSA party (or other party that is not permitted

to be primed under the Prepetition Credit Agreement) to set off that were in existence at the petition date;

or (D) recoupment rights; or (E) contractual liens of any non RSA party (or other party that is not permitted to be primed under
25
   the Prepetition Credit Agreement) that were perfected prior to the Petition Date and are otherwise not avoidable
and that were first liens.
 Case 20-33948
    (Jase Case
               20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 37 of 92
                 (c) (c) Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of

 the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected security

 interest in and lien upon all tangible and intangible pre- and postpetition property of each

 Loan Party other than the property described in clauses (a) (‎ a) and (b) ‎(b) of this paragraph 9

 ‎9 that is subject to either (xi) valid, perfected and non-avoidable liens in existence at the time

 of the commencement of the Cases (other than the Primed Liens) or (yii) valid and non-

 avoidable liens (other than Primed Liens) in existence at the time of such commencement

 that are perfected subsequent to such commencement as permitted by Section 546(b) of the

 Bankruptcy Code, in each case other than (x) the Excluded Assets and the Excluded Equity

 Interests, but including any proceeds of Excluded Assets and Excluded Equity Interests that

 do not constitute Excluded Assets or Excluded Equity Interests and, (y) theD&O Tort

 Claims, and (z) Avoidance Actions, but subject only to and effective upon entry of the Final

 Order, including the Avoidance Proceeds and D&O Tort Proceeds, which shall be (i) junior

 and subordinate to any valid, perfected and non-avoidable liens (other than the Primed Liens)

 in existence immediately prior to the Petition Date, and (ii) any such valid and non-avoidable

 liens in existence immediately prior to the Petition Date that are perfected subsequent to the

 Petition Date as permitted by section 546(b) of the Bankruptcy Code, provided, that nothing

 in the foregoing clauses (i) and (ii) shall limit the rights of the DIP Secured Parties under the

 DIP Documents to the extent such liens are not permitted thereunder; andUnaltered Senior

 Prepetition Liens and Rights; and

               (d) Liens Senior to Certain Other Liens. The DIP Liens shall not be (i)

subject or subordinate to or made pari passu with (A) any lien or security interest that is

avoided and preserved for the benefit of the Loan Parties and their estates under section 551

of the Bankruptcy Code, (B) unless otherwise provided for in the DIP Documents or in this

                 Final



                                             36
 Case 20-33948
    (Jase Case
               20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 38 of 92
                 (d) Interim Order, any liens or security interests arising after the Petition Date,

 including, without limitation, any liens or security interests granted in favor of any federal,

 state, municipal or other governmental unit (including any regulatory body), commission,

 board or court for any liability of the Loan Parties, or (C) any intercompany or affiliate liens

 of the Loan Parties or security interests of the Loan Parties; or (ii) subordinated to or made

 pari passu with any other lien or security interest under section 363 or 364 of the Bankruptcy

 Code granted after the date hereof.

     10.     10.     Protection of DIP Lenders’ Rights.

               (a) So long as there are any DIP Obligations outstanding or the DIP Lenders

have any outstanding Commitments (as defined in the DIP Credit Agreement) (the “DIP

Commitments”) under the DIP Credit Agreement and the Prepetition Secured Parties shall:

(i) (i) have no right to and shall take no action to foreclose upon, or recover in connection

with, the liens granted thereto pursuant to the Prepetition Credit Agreements or this

InterimFinal Order, or otherwise seek to exercise or enforce any rights or remedies against

such DIP Collateral or the Adequate Protection Liens; (ii) (ii) be deemed to have consented

to any transfer, disposition or sale of, or release of liens on, such DIP Collateral (but not any

proceeds of such transfer, disposition or sale to the extent remaining after payment in cash in

full of the DIP Obligations and termination of the DIP Commitments), to the extent such

transfer, disposition, sale or release is authorized under the DIP Documents; (iii) (iii) not file

any further financing statements, trademark filings, copyright filings, mortgages, notices of

lien or similar instruments, or otherwise take any action to perfect their security interests in

such DIP Collateral unless, solely as to this clause (iv), the DIP Agent or the DIP Lenders

file financing statements or other documents to evidence the perfection of the liens granted




                                              37
  Case 20-33948
     (Jase Case
                20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 39 of 92
                   (b) pursuant to this InterimFinal Order, or as may be required by applicable

  state law to continue the perfection of valid and non-avoidable liens or security interests as of

  the Petition Date and (v) deliver or cause to be delivered, at the Loan Parties’ cost and

  expense, any termination statements, releases and/or assignments in favor of the DIP Agent

  or the DIP Lenders or other documents necessary to effectuate and/or evidence the release,

  termination and/or assignment of liens on any portion of such DIP Collateral subject to any

  sale or disposition.

                 (c) (b) To the extent any Prepetition Secured Party has possession of any

  Prepetition Collateral or DIP Collateral or has control with respect to any Prepetition

  Collateral or DIP Collateral, or has been noted as secured party on any certificate of title for a

  titled good constituting Prepetition Collateral or DIP Collateral, then such Prepetition

  Secured Party shall be deemed to maintain such possession or notation or exercise such

  control as a gratuitous bailee and/or gratuitous agent for perfection for the benefit of the DIP

  Agent and the DIP Lenders and shall comply with the instructions of the DIP Agent with

  respect to the exercise of such control.

               (c) If any DIP Loans are outstanding, (i) any proceeds of Prepetition

Collateral subject to the Primed Liens received by any Prepetition Secured Party in

connection with the exercise of any right or remedy (including setoff) relating to the

Prepetition Collateral or otherwise received by any Prepetition Secured Party, except as

specifically provided in this InterimFinal Order as Adequate Protection, shall be segregated

and held in trust for the benefit of and forthwith paid over to the DIP Agent for the benefit of

the DIP Secured Parties in the same form as received, with any necessary endorsements, or

as a court of competent jurisdiction may otherwise direct and (ii) the DIP Agent is hereby




                                             38
  Case 20-33948
     (Jase Case
                20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 40 of 92
                   (d) authorized to make any such endorsements as agent for any such

  Prepetition Secured Party and such authorization is coupled with an interest and is

  irrevocable.

                 (d) The automatic stay provisions of section 362 of the Bankruptcy Code are

hereby modified to the extent necessary to permit the DIP Agent, acting at the direction of the

Required Lenders, to enforce all of their rights under the DIP Documents (subject to the terms

of this InterimFinal Order) and (i) immediately upon the occurrence of an Event of Default,

declare (A) the termination, reduction or restriction of any further DIP Commitment to the

extent any such DIP Commitment remains and (B) all DIP Obligations to be immediately due

and payable, without presentment, demand, protest, or other notice of any kind, all of which

are expressly waived by the Loan Parties and (ii) upon the occurrence of an Event of Default

and the giving of five business days’ prior written notice (which shall run concurrently with

any notice required to be provided under the DIP Documents) (such period, the “Remedies

Notice Period”) via email to counsel to the Debtors, counsel to the Creditors’ Committee and

the U.S. Trustee to (A) withdraw consent to the Loan Parties’ continued use of Cash

Collateral and (B) exercise all other rights and remedies provided for in the DIP Documents

and under applicable law (subject to the terms of this InterimFinal Order). Following the

delivery of such notice, the DIP Agent may file a motion (the “Stay Relief Motion”) seeking

emergency relief from the automatic stay. In any hearing regarding any exercise of rights or

remedies under the DIP Documents, the Debtors and/or the Creditors’ Committee may seek

relief from the Court seeking to stay the DIP Facility Agent’s exercise of any rights and

remedies (including seeking to use Cash Collateral on a non-consensual basis). The Debtors

shall not object to any motion for such a hearing to be heard on shortened notice. Until such

time as the Stay Relief Motion has been adjudicated by the Court, the Debtors may use the

proceeds of the DIP Facility (to the extent drawn prior to the occurrence of the Event of

Default (as defined

                                             39
Case 20-33948
   (Jase Case
              20-3948Document 333-2 Filed in TXSB on 09/13/20 Page 41 of 92




                                    40
     CaseCase
          20-33948
             Case       Document 333-2 Filed in TXSB on 09/13/20 Page 42 of 92
                  20-3948
                 (e) in the DIP Credit Agreement)) or Cash Collateral to fund operations in

   accordance with the DIP Credit Agreement.

                     (f) (e) In no event shall the DIP Agent or the DIP Lenders be subject to the

   equitable doctrine of “marshaling” or any similar doctrine with respect to the DIP Collateral.;

   provided, that the DIP Agent and DIP Lenders shall use commercially reasonable efforts to

   first apply proceeds from DIP Collateral other than Avoidance Proceeds and/or D&O Tort

   Proceeds to satisfy outstanding DIP Obligations before applying Avoidance Proceeds and/or

   D&O Tort Proceeds to satisfy the DIP Obligations.

                     (g) (f) No rights, protections or remedies of the DIP Agent or the DIP Lenders

   granted by the provisions of this InterimFinal Order or the DIP Documents shall be limited,

   modified or impaired in any way by: (i) any actual or purported withdrawal of the consent of

   any party to the Loan Parties’ authority to continue to use Cash Collateral (ii) any actual or

   purported termination of the Loan Parties’ authority to continue to use Cash Collateral; or

   (iii) the terms of any other order or stipulation related to the Loan Parties’ continued use of

   Cash Collateral or the provision of adequate protection to any party.

       11.     11.      Limitation on Charging Expenses Against DIP Collateral. Except to the

extent of

the Carve-Out, no costs or expenses of administration of the Cases or any future proceeding that

may result therefrom, including liquidation in bankruptcy or other proceedings under the

Bankruptcy Code, shall be charged against or recovered from the DIP Collateral pursuant to

section 506(c) of the Bankruptcy Code or any similar principle of law, without the prior written

consent of the DIP Agent, acting at the written direction of the Required Lenders, and no such

consent shall be implied from any other action, inaction, or acquiescence by the DIP Agent, or

the DIP Lenders. For the avoidance of doubt, consent to the Carve Out or the approval of any

budget hereunder shall not be deemed a consent under this paragraph. Nothing contained in this

InterimFinal Order shall be deemed to be a consent by the DIP Agent or the DIP Secured Parties

                                                  41
      CaseCase
            20-33948
                 Case       Document 333-2 Filed in TXSB on 09/13/20 Page 43 of 92
                      20-3948
to any charge, lien, assessment or claim against the DIP Collateral under section 506(c) of the

Bankruptcy Code or otherwise.




                                                42
      CaseCase
           20-33948
              Case       Document 333-2 Filed in TXSB on 09/13/20 Page 44 of 92
                   20-3948
       12.   12.       DIP Payments Free and Clear. Subject only to the Carve-Out, any and all

payments or proceeds remitted to the DIP Agent, on behalf of the DIP Lenders, pursuant to the

provisions of thisthe Interim Order or, this Final Order (if and when entered) or the DIP

Documents shall be received free and clear of any claim, charge, assessment or other liability,

including, without limitation, any such claim or charge arising out of or based on, directly or

indirectly, section 506(c) of the Bankruptcy Code or section 552(b) of the Bankruptcy Code,

whether asserted or assessed by, through or on behalf of the Debtors, and solely in the case of

payments made or proceeds remitted after the delivery of a Trigger Notice, subject to the Carve

Out in all respects.

        13.     13.    Use of Cash Collateral. The Loan Parties are hereby authorized, subject

to the terms and conditions of this InterimFinal Order, to use Cash Collateral; provided that (a)

the Prepetition Secured Parties are granted the Adequate Protection as and to the extent set forth

below and (b) except on the terms and conditions of this InterimFinal Order, the Loan Parties

shall be enjoined and prohibited from at any times using the Cash Collateral absent further order

of the Court.

        14.     Adequate Protection of Prepetition FLFO Secured Parties. The Prepetition

FLFO Secured Parties are entitled, pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of

the Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral,

including the Cash Collateral, to the extent of diminution in the value of the Prepetition FLFO

Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral) from and after

the Petition Date, if any, for any reason provided for under the Bankruptcy Code, including,

without limitation, any such diminution resulting from the depreciation, sale, lease or use by the

Loan Parties (or other decline in value) of the Prepetition Collateral, the priming of the

Prepetition FLFO Agents’ liens on the Prepetition Collateral by the DIP Agent and the DIP

Lenders pursuant to the DIP Documents and this InterimFinal Order, and the imposition of the




                                                 43
      CaseCase
           20-33948
              Case       Document 333-2 Filed in TXSB on 09/13/20 Page 45 of 92
                   20-3948
       14.   automatic stay pursuant to section 362 of the Bankruptcy Code (the “Prepetition

FLFO Secured Parties Adequate Protection Claims”). In consideration of the foregoing, the

Prepetition FLFO Secured Parties are hereby granted the following (collectively, the

“Prepetition FLFO Secured Parties Adequate Protection”):

                  (a) (a) Prepetition FLFO Secured Parties Adequate Protection Liens. The

   Prepetition FLFO Agents (for themselves and for the benefit of the Prepetition FLFO

   Lenders) are hereby granted (effective and perfected upon the date of thisthe Interim Order

   and without the necessity of the execution of any mortgages, security agreements, pledge

   agreements, financing statements or other agreements), in the amount of the Prepetition

   FLFO Secured Parties Adequate Protection Claims, a valid, perfected replacement security

   interest in and lien upon all of the DIP Collateral including, without limitation,

   Unencumbered Property and, subject to entry of the Final Order,(except D&O Tort Claims

   and Avoidance Actions) and the Avoidance Proceeds and D&O Tort Proceeds, in each case

   subject and subordinate only to (i) the Carve-Out, (ii) the Permitted Prior Liens, (iii) the

   Unaltered Senior Prepetition Liens and Rights, (iv) the DIP Liens, and (ivv) the Hedging

   Liens, and ranking pari passu with the Prepetition FLTL Secured Parties Adequate

   Protection Liens (as defined below) (the “Prepetition FLFO Secured Parties Adequate

   Protection Liens”).; provided, that the Prepetition FLFO Agents shall use commercially

   reasonable efforts to first apply proceeds from DIP Collateral other than Avoidance Proceeds

   and/or D&O Tort Proceeds to satisfy any outstanding Prepetition FLFO Secured Parties

   Adequate Protection Claims.

                  (b) Prepetition FLFO Secured Parties 507(b) Claim. The Prepetition FLFO

   Agents (for themselves and for the benefit of the Prepetition FLFO Lenders) are hereby

   granted, subject to the Carve-Out, an allowed superpriority administrative expense claim as

   provided for in section 507(b) of the Bankruptcy Code in the aggregate amount of the

   Prepetition FLFO Secured Parties Adequate Protection Claims with, except as set forth in

                                                 44
   CaseCase
          20-33948
             Case       Document 333-2 Filed in TXSB on 09/13/20 Page 46 of 92
                  20-3948
this InterimFinal Order, priority in payment over any and all administrative expenses of the

kind specified or ordered pursuant to any provision of the Bankruptcy Code (the

“Prepetition




                                            45
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 47 of 92
               20-3948
                 (b) FLFO Secured Parties 507(b) Claim”); which Prepetition FLFO Secured

  Parties 507(b) Claim shall have recourse to and be payable from all of the DIP Collateral,

  including, without limitation, subject to entry of the Final Order, the Avoidance Proceeds and

  D&O Tort Proceeds. The Prepetition FLFO Secured Parties 507(b) Claim shall be subject

  and subordinate only to the Carve-Out, the Permitted Prior Liens, the Unaltered Senior

  Prepetition Liens and Rights, and the DIP Superpriority Claims, and shall be pari passu with

  the Prepetition FLTL Secured Parties 507(b) Claim (as defined below). Except to the extent

  expressly set forth in this InterimFinal Order or the DIP Credit Agreement, the Prepetition

  FLFO Secured Parties shall not receive or retain any payments, property or other amounts in

  respect of the Prepetition FLFO Secured Parties 507(b) Claim unless and until the DIP

  Obligations (other than contingent indemnification obligations as to which no claim has been

  asserted) have indefeasibly been paid in cash in full and all DIP Commitments have been

  terminated.

                  (c) (c) Prepetition FLFO Secured Parties Cash Payments. The Prepetition

  FLFO Secured Parties shall receive current payment in cash on the last business day of each

  month, or on such other dates as may be provided under the Prepetition FLFO Credit

  Agreement, in an amount equal to the non-default interest (or letter of credit fees, as

  applicable) accrued and unpaid payable under the Prepetition FLFO Credit Agreement

  (based, at the option of the Debtors, on the “LIBOR” rate, as provided in the Prepetition

  FLFO Credit Agreement); provided, that the payments made under this paragraph 14(c) shall

  be without prejudice to the right of any partythe Debtors and/or the Creditors’ Committee to

  seek a determination as to whether such payments constitute postpetition interest allowable

  under section 506(b) of the Bankruptcy Code or are in respect of principal.

                (d) Prepetition FLFO Secured Parties Fees and Expenses. Without

duplication of amounts required to be paid pursuant to the DIP Documents, (i) upon entry of

this Interim Order, the Loan Parties shall pay in cash all documented out-of-pocket

                                             46
CaseCase
     20-33948
        Case       Document 333-2 Filed in TXSB on 09/13/20 Page 48 of 92
             20-3948




                                   47
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 49 of 92
               20-3948
                 (d) professional fees, expenses and disbursements payable to the Prepetition

  FLFO Secured Parties, including all fees and expenses of counsel of the Prepetition FLFO

  Administrative Agent (Vinson & Elkins, LLP) and [Opportune LLP], and all fees and

  expenses of counsel of the Prepetition FLFO Collateral Agent (Shipman & Goodwin LLP)

  (collectively, the “Prepetition FLFO Advisors”), that accrued prior to the Petition Date and

  (ii) the Loan Parties shall pay in cash all documented out-of-pocket professional fees,

  expenses and disbursements payable to the Prepetition FLFO Secured Parties (including all

  fees and expenses of the Prepetition FLFO Advisors) that have accrued on or after the

  Petition Date, in each case of the foregoing clauses (i) and (ii), in accordance with the

  Prepetition FLFO Credit Agreement.; provided, that the payments made under this paragraph

  14(d) shall be without prejudice to the right of the Debtors and/or the Creditors’ Committee

  to seek a determination as to whether such payments are allowable under section 506(b) of

  the Bankruptcy Code or are in respect of principal.

               (e) Payment of Fees and Expenses. The payment of the fees, expenses and

disbursements set forth in paragraphs 14(d) 1‎ 4(d) and 15(c) 1‎ 5(c) herein (to the extent

incurred after the Petition Date) shall be made withinno sooner than ten business (10) days

(which time period may be extended by the applicable professional) after the receipt by the

Debtors, the Creditors’ Committee (if appointed) and the U.S. Trustee (the “Review

Period”) of summary invoices therefor (the “Invoiced Fees”) and without the necessity of

filing formal fee applications, including such amounts arising before or after the Petition

Date. The invoices for such Invoiced Fees shall include the number of hours billed (except

for financial advisors compensated on other than an hourly basis) and a summary

ofdescribing services provided and the expenses incurred by the applicable professional;

provided, however, that any such invoice: (i) may be redacted to protect privileged,

confidential or proprietary information and (ii) shall not be required to contain individual

time detail (provided, that such invoice shall contain (except for financial advisors

                                              48
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 50 of 92
               20-3948
compensated on other than an hourly basis), at a minimum, summary data regarding




                                       49
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 51 of 92
               20-3948
                 (e) hours worked by each timekeeper for the applicable professional). The

  Debtors, the Creditors’ Committee (if appointed) and the U.S. Trustee may object to any

  portion of the Invoiced Fees (the “Disputed Invoiced Fees”) within the Review Period by

  filing with the Court a motion or other pleading, on at least ten (10) days’ prior written notice

  to the applicable Prepetition Agent and the applicable Prepetition Lenders of any hearing on

  such motion or other pleading, setting forth the specific objections to the Disputed Invoiced

  Fees in reasonable narrative detail and the bases for such objections; provided, that payment

  of any undisputed portion of Invoiced Fees shall be paid within the time frame set forth

  above and shall not be delayed based on any objections thereto; provided, further, that the

  applicable parties shall endeavor in good faith to consensually resolve any such dispute prior

  to the filing of any such motion or pleading.

               (f) Milestones and Covenants. The Prepetition FLFO Secured Parties are

hereby entitled to performance of those certain terms set forth in the DIP Term Sheet relating

to “sections 6.25 (Milestones”), “Financial Reporting”, “6.01 (Information Covenants), 6.20

(Financial Covenants”) and “6.28 (Hedginge Covenant”, each as will be incorporated

intoAgreements) of the DIP Credit Agreement, when effective (the “Additional Adequate

Protection Provisions”). While the DIP Facility remains outstanding, such Additional

Adequate Protection Provisions may be waived, amended, modified or extended from time to

time, in each case, as provided under the DIP Documents. The Additional Adequate

Protection Provisions shall survive any termination of the DIP Credit Agreement or the DIP

Commitments thereunder, and thereafter, may be waived, amended, modified or extended

from time to time only by (i) order of the Bankruptcy Court or (ii) the prior written consent of

Prepetition FLFO Secured Parties and Prepetition FLTL Secured Parties holding greater than

50% of the aggregate outstanding principal amount of loans under both the




                                             50
CaseCase
     20-33948
        Case       Document 333-2 Filed in TXSB on 09/13/20 Page 52 of 92
             20-3948
               (f) Prepetition FLFO Credit Agreement and Prepetition FLTL Credit Agreement

(the “Required First Lien Secured Parties”).

               (g) (g) Budget. The Debtors shall promptly provide the Prepetition FLFO

Administrative Agent, on behalf of itself and the Prepetition FLFO Lenders (and shall

concurrently provide to counsel to the Creditors’ Committee on a professional eyes only

basis, provided that counsel to the Creditors’ Committee reserves the right to challenge any

“professional eyes only” designation in accordance with the terms of the applicable

confidentiality agreement), with all required written financial reporting and other periodic

reporting that is delivered by the DIP Borrower under the DIP Credit Agreement, including

with respect to the Approved Budget requirements set forth in the DIP Term Sheet, as will be

incorporated into the DIP Credit Agreement, when effective (the “Budget Reporting”). The

Budget Reporting requirement shall survive any termination of the DIP Credit Agreement or

the DIP Commitments thereunder, and thereafter, (i) each Approved Budget shall be

delivered to counsel for the Prepetition FLFO Secured Parties (and shall concurrently provide

to counsel to the Creditors’ Committee on a professional eyes only basis, provided that

counsel to the Creditors’ Committee reserves the right to challenge any “professional eyes

only” designation in accordance with the terms of the applicable confidentiality agreement),

and shall be acceptable to the Required First Lien Secured Parties, it being understood that if

the Required First Lien Secured Parties have not objected to an updated Budget within five

Business Days after delivery thereof, the Required First Lien Secured Parties shall be deemed

to have approved such updated Budget, (ii) no such Budget shall be effective until so

approved (or deemed approved), and upon approval (or deemed approval) of such Budget by

the Required First Lien Secured Parties, shall constitute the Approved Budget for purposes of

these Adequate Protection Reporting Obligations and (iii) this Budget Reporting requirement

may be waived, amended, modified or extended from time to time with respect to the FLFO




                                           51
  CaseCase
        20-33948
           Case       Document 333-2 Filed in TXSB on 09/13/20 Page 53 of 92
                20-3948
  Secured Parties solely by the Required First Lien Secured Parties (in their sole discretion) (or

  the Creditors’ Committee, as applicable).

               (h) Payments Attributable to Legacy Assets. In connection with any amounts

paid after the Petition Date by the Debtors and attributable to Legacy Apache Properties or

the Non-APA Remaining Assets (each, as defined in the Restructuring Support Agreement),

the DIP Agent may use commercially reasonable efforts to first apply proceeds from the DIP




                                              52
     Case 20-33948        Document 333-2 Filed in TXSB on 09/13/20 Page 54 of 92
          (Jas0 Case 20-3948
                  (h) Collateral that is not Prepetition Collateral to satisfy such amounts before

   applying proceeds of DIP Collateral that is Prepetition Collateral to satisfy such amounts.

       15.     15.      Adequate Protection of Prepetition FLTL Secured Parties. The

Prepetition FLTL

Secured Parties are entitled, pursuant to sections 361, 362, 363(e), 364(d)(1) and 507 of the

Bankruptcy Code, to adequate protection of their interests in all Prepetition Collateral, including

the Cash Collateral, to the extent of diminution in the value of the Prepetition FLTL Secured

Parties’ interests in the Prepetition Collateral (including Cash Collateral) from and after the

Petition Date, if any, for any reason provided for under the Bankruptcy Code, including, without

limitation, any such diminution resulting from the depreciation, sale, lease or use by the Loan

Parties (or other decline in value) of the Prepetition Collateral, the priming of the Prepetition

FLTL Agent’s liens on the Prepetition Collateral by the DIP Agent and the DIP Lenders pursuant

to the DIP Documents and this InterimFinal Order, and the imposition of the automatic stay

pursuant to section 362 of the Bankruptcy Code (the “Prepetition FLTL Secured Parties

Adequate Protection Claims”). In consideration of the foregoing, the Prepetition FLTL

Secured Parties are hereby granted the following (collectively, the “Prepetition FLTL Secured

Parties Adequate Protection”):


                  (a) Prepetition FLTL Secured Parties Adequate Protection Liens. The
    Prepetition FLTL Agent (for itself and for the benefit of the Prepetition FLTL Lenders) is

   hereby granted (effective and perfected upon the date of thisthe Interim Order and without

   the necessity of the execution of any mortgages, security agreements, pledge agreements,

   financing statements or other agreements), in the amount of the Prepetition FLTL Secured

   Parties Adequate Protection Claim, a valid, perfected replacement security interest in and lien

   upon all of the DIP Collateral including, without limitation, Unencumbered Property and,

                     (except the D&O Tort Claims and Avoidance Actions) and




                                                 53
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 55 of 92
               20-3948
                 (a) subject to entry of the Final Order, the Avoidance Proceeds and D&O Tort

  Proceeds, in each case subject and subordinate only to in each case subject and subordinate

  only to (i) the Carve-Out, (ii) the Permitted Prior Liens, (iii) the Unaltered Senior Prepetition

  Liens and Rights, (iv) the DIP Liens, and (ivv) the Hedging Liens, and ranking pari passu

  with the Prepetition FLFO Secured Parties Adequate Protection Liens (the “Prepetition

  FLTL Secured Parties Adequate Protection Liens”, and together with the Prepetition

  FLFO Secured Parties Adequate Protection Liens, the “Adequate Protection Liens”).;

  provided, that the Prepetition FLFO Agents shall use commercially reasonable efforts to first

  apply proceeds from DIP Collateral other than Avoidance Proceeds and/or D&O Tort

  Proceeds to satisfy any outstanding Prepetition FLTL Secured Parties Adequate Protection

  Claims.

               (b) Prepetition FLTL Secured Parties 507(b) Claim. The Prepetition FLTL

Agent (for itself and for the benefit of the Prepetition FLTL Lenders) is hereby granted,

subject to the Carve-Out, an allowed superpriority administrative expense claim as provided

for in section 507(b) of the Bankruptcy Code in the amount of the Prepetition FLTL Secured

Parties Adequate Protection Claim with, except as set forth in this InterimFinal Order, priority

in payment over any and all administrative expenses of the kind specified or ordered pursuant

to any provision of the Bankruptcy Code (the “Prepetition FLTL Secured Parties 507(b)

Claim”, and together with the Prepetition FLFO Secured Parties 507(b) Claim, the “507(b)

Claims”)); which Prepetition FLTL Secured Parties 507(b) Claim shall have recourse to and

be payable from all of the DIP Collateral, including, without limitation, subject to entry of the

Final Order, the Avoidance Proceeds and D&O Tort Proceeds. The Prepetition FLTL

Secured Parties 507(b) Claim shall be subject and subordinate only to the Carve-Out, the

Permitted Prior Liens and, the Unaltered Senior Prepetition Liens and Rights, and the DIP

Superpriority Claims, and shall be pari passu with the Prepetition FLFO Secured Parties

507(b) Claim. Except to the extent expressly set forth in this InterimFinal Order or the DIP

                                             54
  CaseCase
        20-33948
           Case       Document 333-2 Filed in TXSB on 09/13/20 Page 56 of 92
                20-3948
Credit Agreement, the Prepetition FLTL Secured Parties shall not receive or retain any

payments, property or other amounts in respect of the Prepetition FLTL Secured Parties

507(b) Claim unless and until the DIP Obligations (other than contingent indemnification

obligations as to




                                           55
 CaseCase
      20-33948
         Case       Document 333-2 Filed in TXSB on 09/13/20 Page 57 of 92
              20-3948
               (b) which no claim has been asserted) have indefeasibly been paid in cash in

 full and all DIP Commitments have been terminated.

                  (c) (c) Prepetition FLTL Secured Parties Fees and Expenses. Without

 duplication of amounts required to be paid pursuant to the DIP Documents, (i) upon entry of

 this Interim Order, the Loan Parties shall pay in cash all documented out-of-pocket

 professional fees, expenses and disbursements payable to the Prepetition FLTL Secured

 Parties, including all fees and expenses of counsel and other professionals of the Prepetition

 FLTL Agent (including Shipman & Goodwin LLP) and the ad hoc group of Prepetition FLTL

 Lenders (including Davis Polk & Wardwell LLP, Haynes and Boone LLP, Gordon, Arata,

 Montgomery, Barnett, McCollam, Duplantis & Eagan, LLC, Rothschild & Co US Inc. and

 Intrepid Partners, LLC (collectively with Shipman & Goodwin, LLP and any other advisor

 retained by the Prepetition FLTL Secured Parties, the “Prepetition FLTL Secured Parties

 Advisors”)) that accrued prior to the Petition Date and (ii) the Loan Parties shall pay in cash

 all documented out-of-pocket professional fees, expenses and disbursements payable to the

 Prepetition FLTL Secured Parties (including all fees and expenses of the Prepetition FLTL

 Secured Parties Advisors) that have accrued on or after the Petition Date, in each case of the

 foregoing clauses (i) and (ii), in accordance with the Prepetition FLTL Credit Agreement.;

 provided, that the payments made under this paragraph 15(c) shall be without prejudice to the

 right of the Debtors and/or the Creditors’ Committee to seek a determination as to whether

 such payments are allowable under section 506(b) of the Bankruptcy Code or are in respect

 of principal.

                 (d) Milestones and Covenants. The Prepetition FLTL Secured Parties are

hereby entitled to performance of the Additional Adequate Protection Provisions. While the

DIP Facility remains outstanding, such Additional Adequate Protection Provisions may be

waived, amended, modified or extended from time to time, in each case, as provided under

the DIP Documents. The Additional Adequate Protection Provisions shall survive any

                                            56
CaseCase
     20-33948
        Case       Document 333-2 Filed in TXSB on 09/13/20 Page 58 of 92
             20-3948




                                   57
    CaseCase
         20-33948
            Case       Document 333-2 Filed in TXSB on 09/13/20 Page 59 of 92
                 20-3948
                 (d) termination of the DIP Credit Agreement or the DIP Commitments

   thereunder, and thereafter, may be waived, amended, modified or extended from time to time

   only by (i) order of the Bankruptcy Court or (ii) the prior written consent of the Required

   First Lien Secured Parties.

                (e)    (e)    Budget. The Debtors shall promptly provide the Prepetition FLTL

Administrative Agent, on behalf of itself and the Prepetition FLTL Lenders, with all required

written financial reporting and other periodic reporting that is delivered by the DIP Borrower

under the DIP Credit Agreement, including the Budget Reporting. This Budget Reporting

requirement shall survive any termination of the DIP Credit Agreement or the DIP

Commitments thereunder, and thereafter, (i) each Approved Budget shall be delivered to

counsel for the Prepetition FLTL Secured Parties, and shall be reasonably acceptable to the

Required First Lien Secured Parties, it being understood that if the Required First Lien Secured

Parties have not objected to an updated Budget within five Business Days after delivery thereof,

the Required First Lien Secured Parties shall be deemed to have approved such updated Budget,

(ii) no such Budget shall be effective until so approved (or deemed approved), and upon

approval (or deemed approval) of such Budget by the Required First Lien Secured Parties, shall

constitute the Approved Budget for purposes of this Budget Reporting requirement and (iii) this

Budget Reporting requirement may be waived, amended, modified or extended from time to

time with respect to the FLTL Secured Parties solely by the Required First Lien Secured Parties

(in their sole discretion).

                  (f) In connection with any amounts paid after the Petition Date by the Debtors

  and attributable to Legacy Apache Properties or the Non-APA Remaining Assets, the DIP

  Agent may use commercially reasonable efforts to first apply proceeds from the DIP




                                               58
      CaseCase
           20-33948
              Case       Document 333-2 Filed in TXSB on 09/13/20 Page 60 of 92
                   20-3948
                  (f) Collateral that is not Prepetition Collateral to satisfy such amounts before

   applying proceeds of DIP Collateral that is Prepetition Collateral to satisfy such amounts.

       16.     16.     Limitation on Charging Expenses Against Prepetition Collateral. In

partial consideration for, among other things, the Carve Out and the payments made under the

Approved Budget to administer the Cases with the use of Cash Collateral, except to the extent of

the Carve-Out, no costs or expenses of administration of the Cases or any future proceeding that

may result therefrom, including liquidation in bankruptcy or other proceedings under the

Bankruptcy Code, shall be charged against or recovered from the Prepetition Collateral

(including Cash Collateral) pursuant to section 506(c) of the Bankruptcy Code or any similar

principle of law, without the prior written consent of the Prepetition Agents or the Prepetition

Lenders, as the case may be, and in each case acting at the written direction of the requisite

percentage of Prepetition FLFO Lenders, Prepetition FLTL Lenders or Prepetition SLTL

Lenders, as applicable, and no such consent shall be implied from any other action, inaction, or

acquiescence by the Prepetition Agents or the Prepetition Lenders, provided that the foregoing

shall be without prejudice to the terms of the Final Order with respect to the period from and

after entry of the Final Order. For the avoidance of doubt, consent to the Carve Out or the

approval of any budget hereunder shall not be deemed a consent under this paragraph. Nothing

contained in this InterimFinal Order shall be deemed to be a consent by the Prepetition Secured

Parties to any charge, lien, assessment or claim against the DIP Collateral under section 506(c) of

the Bankruptcy Code or otherwise.

       17.     Adequate Protection Payments Free and Clear. Subject to entry of the Final

Order (except with respect to payments of interest, fees, expenses and disbursements set forth in

paragraphs 14(c), 14(d) and 15(c) of this Interim Order made between now and the entry of the

        Any




                                                 59
     CaseCase
          20-33948
             Case       Document 333-2 Filed in TXSB on 09/13/20 Page 61 of 92
                  20-3948
      17.   Final Order), any and all payments or proceeds remitted to the Prepetition FLFO

Administrative Agent on behalf of Prepetition FLFO Secured Parties or to the Prepetition FLTL

Agent on behalf of any Prepetition FLTL Secured Parties, pursuant to the provisions of thisthe

Interim Order, the and this Final Order (if and when entered), any subsequent order of the Court

or the Prepetition Debt Documents, shall be irrevocable, received free and clear of any claim,

charge, assessment or other liability, including, without limitation, any such claim or charge

arising out of or based on, directly or indirectly, section 506(c) of the Bankruptcy Code or section

552(b) of the Bankruptcy Code (subject to modification under the Final Order with respect to any

payments or proceeds remitted following entry of the Final Order), whether asserted or assessed

by, through or on behalf of the Debtors, and solely in the case of payments made or proceeds

remitted after the delivery of a Trigger Notice, subject to the Carve Out in all respects.

       18.     18.     Limitations on “Equities of the Case” Exception. The Prepetition Secured

Parties are and shall each be entitled to all of the rights and benefits of section 552(b) of the

Bankruptcy Code, and the “equities of the case” exception under section 552(b) of the

Bankruptcy Code shall not apply to the Prepetition Secured Parties or the Prepetition

Obligations, provided that the foregoing shall be without prejudice to the terms of the Final

Order with respect to the period from and after entry of the Final Order.

       19.     19.     Waiver of Marshaling for Prepetition Secured Parties. In no event shall

the Prepetition Secured Parties be subject to the equitable doctrine of “marshaling” or any similar

doctrine with respect to any of the Prepetition Collateral, provided that the foregoing shall be

without prejudice to the terms of the Final Order with respect to the period from and after entry

of the Final Order.




                                                  60
       CaseCase
            20-33948
               Case       Document 333-2 Filed in TXSB on 09/13/20 Page 62 of 92
                    20-3948




 20.     Reservation of Rights of Prepetition Secured Parties. Under the circumstances
        20.    and given that the Adequate Protection is consistent with the Bankruptcy Code,

including section 506(b) thereof, the Court finds that the Adequate Protection is reasonable and

sufficient to protect the interests of the Prepetition Secured Parties and any other parties’ holding

interests that are secured by Primed Liens; provided that any of the Prepetition Secured Parties,

upon a change in circumstances, may request further or different adequate protection, and the

Debtors or any other party may, subject to and consistent with the terms of the Intercreditor

Agreements, contest any such request.

        21.    21.      Perfection of DIP Liens and Adequate Protection Liens.

                     (a) The DIP Agent, the DIP Lenders and the Prepetition Secured Parties are

   hereby authorized, but not required, to file or record (and to execute in the name of the Loan

   Parties, as their true and lawful attorneys, with full power of substitution, to the maximum

   extent permitted by law) financing statements, trademark filings, copyright filings,

   mortgages, notices of lien or similar instruments in any jurisdiction, or take possession of or

   control over cash or securities, or take any other action in order to validate and perfect the

   liens and security interests granted to them hereunder. Whether or not the DIP Agent, on

   behalf of, or at the direction of, the DIP Lenders or the Prepetition Secured Parties shall, in

   their sole discretion, choose to file such financing statements, trademark filings, copyright

   filings, mortgages, notices of lien or similar instruments, or take possession of or control over

   any cash or securities, or otherwise confirm perfection of the liens and security interests

   granted to them hereunder, such liens and security interests shall be deemed valid, perfected,

   allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination, at

   the time and on the Closing dDate of entry of this Interim Order. Upon the request of the

   DIP Agent,



                                                 61
CaseCase
     20-33948
        Case       Document 333-2 Filed in TXSB on 09/13/20 Page 63 of 92
             20-3948




                                   62
  CaseCase
       20-33948
          Case       Document 333-2 Filed in TXSB on 09/13/20 Page 64 of 92
               20-3948
                 (a) each of the Prepetition Secured Parties and the Loan Parties, without any

  further consent of any party, is authorized to take, execute, deliver and file such instruments

  (in each case, without representation or warranty of any kind) to enable the DIP Agent to

  further validate, perfect, preserve and enforce the DIP Liens, and such parties shall provide

  reasonable cooperation to the DIP Agent with respect to such matters. All such documents

  will be deemed to have been recorded and filed as of the Petition Date.

                     (b) (b) A certified copy of this InterimFinal Order may, in the discretion of the

  DIP Agent, at the direction of the Required Lenders under the DIP Documents, or the

  Prepetition Secured Parties, be filed with or recorded in filing or recording offices in addition

  to or in lieu of such financing statements, mortgages, notices of lien or similar instruments,

  and all filing offices are hereby authorized and directed to accept such certified copy of this

  InterimFinal Order for filing and/or recording, as applicable. The automatic stay of section

  362(a) of the Bankruptcy Code shall be modified to the extent necessary to permit the DIP

  Agent and the Prepetition Secured Parties to take all actions, as applicable, referenced in this

  subparagraph (b) (‎ b) and the immediately preceding subparagraph (a)‎(a).

         22.   22.      Preservation of Rights Granted Under This InterimFinal Order.

                (a) Other than the Carve-Out and other claims and liens expressly granted by

this InterimFinal Order, no claim or lien having a priority superior to or pari passu with those

granted by this InterimFinal Order to the DIP Agent and the DIP Lenders or the Prepetition

Secured Parties shall be permitted while any of the DIP Obligations or the Adequate

Protection remain outstanding, and, except as otherwise expressly provided in paragraph 9 ‎9

of this InterimFinal Order, the DIP Liens and the Adequate Protection Liens shall not be: (i)

subject or junior to any lien or security interest that is avoided and preserved for the benefit

of the




                                                63
    Case  20-33948
    CaseCase 20-3948 Document 333-2 Filed in TXSB on 09/13/20 Page 65 of 92
                  (a) 20-33948 DocumentDocument 54-158 FiledFiled in on TXSB 08/05/2on in 08/05/20TXSB
  Page
      Page 4545 of of 6060 Loan Parties’ estates under section 551 of the Bankruptcy Code; (ii)

  subordinated to or made pari passu with any other lien or security interest, whether under

  section 364(d) of the Bankruptcy Code or otherwise; (iii) subordinated to or made pari passu

  with any liens arising after the Petition Date including, without limitation, any liens or

  security interests granted in favor of any federal, state, municipal or other domestic or foreign

  governmental unit (including any regulatory body), commission, board or court for any

  liability of the Loan Parties; or (iv) subject or junior to any intercompany or affiliate liens or

  security interests of the Loan Parties.

                (b)    (b)      The Debtors shall not seek,file any motion or other pleading,

execute any other writing, or make any oral argument in support of (or support any other party

in the filing of a motion or other pleading or making of any oral argument or statement in

support of), and it shall constitute an Event of Default and terminate the right of the Loan

Parties to use Cash Collateral, subject to the Remedies Notice Period, if any of the Loan Parties,

without the prior written consent of the Required Lenders seeks, proposes or supports (whether

by way of, file any motion or other pleadings filed with the Court or, execute any other writing

executed by any Loan Party or by, or make any oral argument or statement in support of (or

support any other party in the filing of a motion or other pleading or making of any oral

argument in support of), or if there is entered or confirmed, or if there occurs (in each case, as

applicable), or if there occurs:

                         (i)    (i)    a failure of the Debtors to make any payment under thisthe
                                Interim Order or this Final Order to any of the DIP Secured Parties
                                when due;

                        (ii)    (ii) a failure of the Debtors to (x) observe or perform any of the
                                material terms or provisions contained in this InterimFinal Order or
                                (y) comply with any covenant or agreement in this InterimFinal
                                Order in any material respect, in each case, which failure is not
                                cured within three (3) days after receipt of written notice thereof;




                                                   64
Case 20-33948 (iii)
                Document    333-2
                    (iii) any       Filed in TXSB
                              modifications,        on 09/13/20
                                             amendments,           Page
                                                          or reversal     66 of 92
                                                                      of this
                    InterimFinal Order, and no such consent shall be implied by any
                    other action, inaction or acquiescence by any party;

                (iv)   (iv) an order converting or dismissing any of the Cases;

                 (v)   (v)    an order appointing a chapter 11 trustee in the Cases;

                (vi)   (vi) an order appointing an examiner with enlarged powers in the
                       Cases (beyond those set forth in sections 1106(a)(3) and (4) of the
                       Bankruptcy Code);
     Case Case
          20-33948
              Case      Document 333-2 Filed in TXSB on 09/13/20 Page 67 of 92
                   20-3948
                      (vii) (vii) aa plan of reorganization that does not provide for the
                            payment in full in cash of the DIP Facility being proposed by the
                            Debtors, or, solely as to the right to terminate use of Cash
                            Collateral, any other plan of reorganization that constitutes an
                            Alternative Restructuring (as defined in the Restructuring Support
                            Agreement) being proposed by the Debtors or confirmation
                            thereof;

                      (viii)   (viii) the sale of all or substantially all of the assets of the Loan
                               Parties or all Specified Assets (as defined in the Restructuring
                               Support Agreement) (in each case, except to the extent permitted
                               under the DIP Documents), which does not provide for the
                               repayment in full in cash of all DIP Obligations (other than any
                               contingent indemnification or expense reimbursement obligations
                               for which no claim has been made); or

                       (ix)    (ix) any “Event of Default” as defined in the DIP Credit
                               Agreement.

                (c)   The Debtors shall not seek, and it shall constitute an Event of Default and

The Debtors shall not file any motion or other pleading, execute any other writing, or make any
                              oral argument or statement in support of (or support any other party
                              in the filing of a motion or other pleading or making of any oral
                              argument in support of), and it shall constitute an Event of Default
                              and terminate the right of the Loan Parties to use Cash Collateral,
                              subject to the Remedies Notice Period, if any of the Loan Parties,
                              without

the prior written consent of the Prepetition FLTL Agent seeks, proposes or supports (, file any
                              motion or wheother by

pleading, execute any other writing, or make any way of motion or other pleadings filed with the
                             Court or any other writing executed by any Loan
               (c)    Party or by oral argument), or or statement in support of (or support any

other party in the filing of a motion or other pleading or making of any oral argument in support

of, if there is entered or confirmed, or if there occurs (in each case, as applicable), or if:


there occurs:
                         (i)   (i)    a failure of the Debtors to make any payment under thisthe
                               Interim Order or this Final Order to any of the Prepetition FLFO
                               Secured Parties or the Prepetition FLTL Secured Parties when due;

                        (ii)   (ii) a failure of the Debtors to (x) observe or perform any of the
                               material terms or provisions contained in this InterimFinal Order or
                               (y) comply with any covenant or agreement in this InterimFinal
                               Order in any material respect, and such failure is materially
                               adverse to the Prepetition FLFO Secured Parties or the Prepetition
                               FLTL Secured Parties. in each case, which failure is not cured
                                                 66
Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 68 of 92
                  within three (3) Business Days after receipt of written notice
                  thereof;

                (iii)   (iii) any modifications, amendments, or reversal of this
                        InterimFinal Order, and no such consent shall be implied by any
                        other action, inaction or acquiescence by any party, and such
                        modification, amendment, or extension is materially adverse to the
                        Prepetition FLFO Secured Parties or the Prepetition FLTL Secured
                        Parties;

                (iv)    (iv) an order converting or dismissing any of the Cases;

                 (v)    (v)    an order appointing a chapter 11 trustee in the Cases; or
     Case (Jase
           20-33948
                Case      Document 333-2 Filed in TXSB on 09/13/20 Page 69 of 92
                     20-3948




                            (vi) an order appointing an examiner with enlarged powers in the Cases
                        (vi)     (beyond those set forth in sections 1106(a)(3) and (4) of the
                                Bankruptcy Code), and such order is materially adverse to the
                                Prepetition FLFO Secured Parties or the Prepetition FLTL Secured
                                Parties.

Notwithstanding any order that may be entered dismissing any of the Cases under section 1112

of the Bankruptcy Code or otherwise is at any time entered: (i) the DIP Superpriority Claims,

the 507(b) Claims, the DIP Liens and the Adequate Protection Liens shall continue in full force

and effect and shall maintain their priorities as provided in this InterimFinal Order until all DIP

Obligations and Adequate Protection shall have been indefeasibly paid in full in cash (and that

such DIP Superpriority Claims, 507(b) Claims, DIP Liens and Adequate Protection Liens shall,

notwithstanding such dismissal, remain binding on all parties in interest); (ii) the other rights

granted by this InterimFinal Order shall not be affected; and (iii) this Court shall retain

jurisdiction, notwithstanding such dismissal, for the purposes of enforcing the claims, liens and

security interests referred to in this paragraph and otherwise in this InterimFinal Order.

                (d)If any or all of the provisions of this InterimFinal Order are hereafter reversed,

modified, vacated or stayed, such reversal, modification, vacation or stay shall not affect: (i) the

validity, priority or enforceability of any DIP Obligations or Adequate Protection incurred prior

to the actual receipt of written notice by the DIP Agent or the Prepetition Agents, as applicable,

of the effective date of such reversal, modification, vacation or stay; or (ii) the validity, priority

or enforceability of the DIP Liens or the Adequate Protection Liens. Notwithstanding any such

reversal, modification, vacation or stay of any use of Cash Collateral, any DIP Obligations, DIP

Liens, Adequate Protection or Adequate Protection Liens incurred by the Loan Parties to the

DIP Agent, the DIP Lenders or the Prepetition Secured Parties, as the case may be, prior to the

actual receipt of written notice by the DIP Agent or the Prepetition Agents, as applicable, of the

effective date of such reversal, modification, vacation or stay shall be governed in all respects by


                                                 68
      Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 70 of 92
the
      Case Case
           20-33948
               Case      Document 333-2 Filed in TXSB on 09/13/20 Page 71 of 92
                    20-3948
               (d) original provisions of this InterimFinal Order, and the DIP Agent, the DIP

Lenders and the Prepetition Secured Parties shall be entitled to all the rights, remedies,

privileges and benefits granted in section 364(e) of the Bankruptcy Code, this InterimFinal

Order and the DIP Documents with respect to all uses of Cash Collateral, DIP Obligations and

Adequate Protection.

                (e)    (e)   Except as expressly provided in this InterimFinal Order or in the

DIP                                                                                Documents,

the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens and the Adequate

Protection and all other rights and remedies of the DIP Agent, the DIP Lenders and the

Prepetition Secured Parties granted by the provisions of this InterimFinal Order and the DIP

Documents shall survive, and shall not be modified, impaired or discharged by: (i) (i) the entry

of an order converting any of the Cases to a case under chapter 7, dismissing any of the Cases,

terminating the joint administration of these Cases or by any other act or omission; (ii) (ii) the

entry of an order approving the sale of any DIP Collateral pursuant to section 363(b) of the

Bankruptcy Code (except to the extent permitted by the DIP Documents); or (iii) (iii) the entry

of an order confirming a chapter 11 plan in any of the Cases and, pursuant to section 1141(d)(4)

of the Bankruptcy Code, the Loan Parties have waived any discharge as to any remaining DIP

Obligations or Adequate Protection. The terms and provisions of this InterimFinal Order and

the DIP Documents shall continue in these Cases, in any successor cases if these Cases cease to

be jointly administered and in any superseding chapter 7 cases under the Bankruptcy Code, and

the DIP Liens, the DIP Superpriority Claims, the Adequate Protection Liens and the Adequate

Protection and all other rights and remedies of the DIP Agent, the DIP Lenders and the

Prepetition Secured Parties granted by the provisions of this InterimFinal Order and the DIP

Documents shall continue in full force and effect until the DIP Obligations are indefeasibly paid

in full in cash, as set forth herein and in the DIP Documents, and the DIP Commitments have

been terminated.

                                               70
      Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 72 of 92
           CaseCase 20-3948



       23.     Effect of Stipulations on Third Parties. The Debtors’ stipulations, admissions,

agreements and releases contained in this InterimFinal Order, including, without limitation, in

paragraph 5 ‎5 of this InterimFinal Order, shall be binding upon the Debtors and any successor

thereto (including, without limitation, any chapter 7 or chapter 11 trustee or examiner appointed

or elected for any of the Debtors) in all circumstances and for all purposes. The Debtors’

stipulations, admissions, agreements and releases contained in this InterimFinal Order, including,

without limitation, in paragraph 5 5‎ of this InterimFinal Order, shall be binding upon all other

parties in interest, including, without limitation, any statutory or non-statutory committees

appointed or formed in the Cases (including the Creditors’ Committee, if any) and any other

person or entity acting or seeking to act on behalf of the Debtors’ estates, including any chapter 7

or chapter 11 trustee or examiner appointed or elected for any of the Debtors, in all

circumstances and for all purposes unless: (ia) such committee (including the Creditors’

Committee) or any other party in interest, in each case with requisite standing granted by the

Court (subject in all respects to any agreement or applicable law that may limit or affect such

entity’s right or ability to do so), has timely filed an adversary proceeding or contested matter

(subject to the limitations contained herein, including, inter aliawithout limitation, in this

paragraph 23) by no later than a date that is the later of (x) if a Creditors’ Committee is not

appointed,(i) 75 days after entry of this Interim Order and (y) if a Creditors’ Committee is

appointed, 60 days after entry of theenter of this Final Order, (ii) any such later date as has been

agreed to, in writing, by the Prepetition Agents (with the consent of the DIP Lenders) as

applicable, and (iii) any such later date as has been ordered by the Court for cause upon a motion

filed and served within any applicable period of time set forth in this paragraph; provided, that

the filing of a motion for standing by the Creditors’ Committee for any proposed Challenge shall

automatically extend the Challenge Period with respect to such Challenge described in such


                                                  71
     Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 73 of 92
motion, until five (5) Business Days after such motion for standing is determined by this Court

(the time period established by the foregoing clauses (i)-(iii), the “Challenge Period”), (A)

objecting to or challenging the amount, validity, perfection, enforceability, priority or extent of

the Prepetition Debt or the
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 74 of 92
          CaseCase 20-3948



Prepetition Liens, or (B) otherwise asserting or prosecuting any action for preferences, fraudulent

transfers or conveyances, other avoidance power claims or any other claims, counterclaims or

causes of action, objections, contests or defenses (collectively, the “Challenges”) against the

Prepetition Secured Parties or their respective subsidiaries and each of their former, current or

future officers, partners, directors, managers, principals, employees, agents, financial advisors,

attorneys, accountants, investment bankers, consultants, representatives and other professionals

and the respective successors and assigns thereof, in each case in their respective capacity as

such (each a “Representative” and, collectively, the “Representatives”) in connection with

matters related to the Prepetition Credit Agreements, the Prepetition Debt, the Prepetition Liens

andin the Prepetition Collateral; and (b) there is a final non-appealable order in favor of the

plaintiff sustaining any such Challenge in any such timely filed adversary proceeding or

contested matter; provided, however, that any pleadings filed in connection with any Challenge

shall set forth with specificity the basis for such cChallenge or claim and any cChallenges or

claims not so specified prior to the expiration of the Challenge Period shall be deemed forever,

waived, released and barred. If no such Challenge is timely and properly filed during the

Challenge Period or the Court does not rule in favor of the plaintiff in any such proceeding then:

(a) the Debtors’ stipulations, admissions, agreements and releases contained in this InterimFinal

Order, including, without limitation, those contained in paragraph 5 5‎ of this InterimFinal Order,

shall be binding on all parties in interest; (b) the obligations of the Loan Parties under the

Prepetition Credit Agreements, including the Prepetition Debt, shall constitute allowed claims

not subject to defense, claim, counterclaim, recharacterization, subordination, offset or

avoidance, for all purposes in the Cases, and any subsequent chapter 7 case(s); (c) the Prepetition

Liens on the Prepetition Collateral shall be deemed to have been, as of the Petition Date, legal,

valid, binding,



                                                  73
Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 75 of 92
     CaseCase 20-3948




                                  74
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 76 of 92
          CaseCase 20-3948



perfected, security interests and liens, not subject to recharacterization, subordination, avoidance

or other defense; and (d) the Prepetition Debt and the Prepetition Liens on the Prepetition

Collateral shall not be subject to any other or further claim or challenge by any statutory or non-

statutory committee appointed or formed in the Cases or any other party in interest acting or

seeking to act on behalf of the Debtors’ estates, including, without limitation, any successor

thereto (including, without limitation, any chapter 7 trustee or chapter 11 trustee or examiner

appointed or elected for any of the Debtors) and any defenses, claims, causes of action,

counterclaims and offsets by any statutory or non-statutory committee appointed or formed in the

Cases (including the Creditors’ Committee, if any), or any other party acting or seeking to act on

behalf of the Debtors’ estates, including, without limitation, any successor thereto (including,

without limitation, any chapter 7 trustee or chapter 11 trustee or examiner appointed or elected

for any of the Debtors), whether arising under the Bankruptcy Code or otherwise, against any of

the Prepetition Secured Parties and their Representatives arising out of or relating to any of the

Prepetition Credit Agreements shall be deemed forever waived, released and barred. If any such

Challenge is timely filed during the Challenge Period, the stipulations, admissions, agreements

and releases contained in this InterimFinal Order, including, without limitation, those contained

in paragraph 5 ‎5 of this InterimFinal Order, shall nonetheless remain binding and preclusive (as

provided in the second sentence of this paragraph) on any statutory or non-statutory committee

appointed or formed in the Cases, and on any other person or entity, except to the extent that

such stipulations, admissions, agreements and releases were expressly and successfully

challenged in such Challenge as set forth in a final, non-appealable order of a court of competent

jurisdiction. Nothing in this InterimFinal Order vests or confers on any Person (as defined in the

Bankruptcy Code), including any statutory or non-statutory committee appointed or formed in

these Cases



                                                 75
Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 77 of 92
     CaseCase 20-3948




                                  76
      Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 78 of 92
           CaseCase 20-3948
       23.   (including the Creditors’ Committee, if any), standing or authority to pursue any

claim or cause of action belonging to the Debtors or their estates, including, without limitation,

Challenges with respect to the Prepetition Credit Agreements, the Prepetition Debt or the

Prepetition Liens.

       24.     Limitation on Use of DIP Financing Proceeds and Collateral. Notwithstanding

any other provision of this InterimFinal Order or any other order entered by the Court, no DIP

Loans, DIP Collateral, Prepetition Collateral or any portion of the Carve-Out, may be used

directly or indirectly by any Debtor, any Guarantor, any official committee appointed in the

Cases, or any trustee appointed in the Cases or any successor case, including any chapter 7 case,

or any other person, party or entity (i) in connection with the investigation, initiation or

prosecution of any claims, causes of action, adversary proceedings or other litigation (a) against

any of the DIP Agent, the DIP Lenders, or the Prepetition Secured Parties, or their respective

predecessors-in-interest, agents, affiliates, representatives, attorneys, or advisors, or any action

purporting to do the foregoing in respect of the Prepetition Debt, liens on the Prepetition

Collateral, DIP Obligations, DIP Liens, DIP Superpriority Claims and/or the Adequate

Protection, Adequate Protection Liens and superpriority claims granted to the Prepetition

Secured Parties under the Interim Order or thethis Final Order, as applicable, or (b) challenging

the amount, validity, perfection, priority or enforceability of or asserting any defense,

counterclaim or offset with respect to, the Prepetition Debt, the DIP Obligations and/or the liens,

claims, rights, or security interests granted under thisthe Interim Order, thethis Final Order, the

DIP Documents or the Prepetition Credit Agreements including, in each case, without limitation,

for lender liability or pursuant to section 105, 510, 544, 547, 548, 549, 550, or 552 of the

Bankruptcy Code, applicable non-bankruptcy law or otherwise; provided that notwithstanding

anything to the contrary set forth herein, no more than an aggregate of $250,000 of the Collateral

or any proceeds of the DIP Facility, the DIP Collateral or the Prepetition Collateral may be used

to pay any allowed fees of the Creditors’ Committee, if any, or their respective professionals to

                                                  77
      Case 20-33948       Document 333-2 Filed in TXSB on 09/13/20 Page 79 of 92
             CaseCase 20-3948
the extent incurred in connection with investigating the validity, enforceability, priority,

obligations, claims and liens of the Prepetition Secured Parties and their respective agents,

attorneys, advisors or representatives, or investigating any Challenges against any of the

foregoing; (ii) to prevent, hinder, or otherwise delay the Prepetition Secured Parties’, the DIP

Agent’s or the DIP Lenders’, as applicable, enforcement or realization on the




                                                 78
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 80 of 92
          CaseCase 20-3948
      24.   Prepetition Debt, Prepetition Collateral, DIP Obligations, DIP Collateral, and the

liens, claims and rights granted to such parties under the Orders, each in accordance with the DIP

Documents, the Prepetition Credit Agreements or this InterimFinal Order; (iii) to seek to modify

any of the rights and remedies granted to the Prepetition Secured Parties, the DIP Agent or the

DIP Lenders under this InterimFinal Order, the Prepetition Credit Agreements or the DIP

Documents, as applicable; (iv) to apply to the Court for authority to approve superpriority claims

or grant liens (other than the liens permitted pursuant to the Definitive Documentation) or

security interests in the DIP Collateral or any portion thereof that are senior to, or on parity with,

the DIP Liens, DIP Superpriority Claims, adequate protection liens and superpriority claims and

liens granted to the Prepetition Secured Parties, unless all DIP Obligations, Prepetition Debt,

adequate protection, and claims granted to the DIP Agent, DIP Lenders or Prepetition Secured

Parties under this InterimFinal Order, have been refinanced or paid in full in cash (including the

cash collateralization of any letters of credit) or otherwise agreed to in writing by the DIP

Lenders; or (vi) to seek to pay any amount on account of any claims arising prior to the Petition

Date unless such payments are agreed to in writing by the DIP Lenders in or are otherwise

included in the “Approved Budget” (as initially attached to the Motion, and as updated in

accordance with the terms of the DIP Documents). For the avoidance of doubt, nothing herein

shall modify or limit the Loan Parties’ use of the Carve-Out in connection with such rights.

       25.     Loss or Damage to Collateral. Nothing in this InterimFinal Order, the DIP

Documents, or any other documents related to these transactions shall in any way be construed or

interpreted to impose or allow the imposition upon the DIP Agent, any DIP Lender or any of the

Prepetition Secured Parties of any liability for any claims arising from the prepetition or

postpetition activities of the Debtors in the operation of their business, or in connection with their




                                                  79
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 81 of 92
          CaseCase 20-3948
      25.   restructuring efforts. So long as the DIP Agent and the DIP Lenders comply with

their obligations under the DIP Documents and their obligations, if any, under applicable law

(including the Bankruptcy Code), (a) the DIP Agent and the DIP Lenders shall not, in any way or

manner, be liable or responsible for (i) the safekeeping of the DIP Collateral, (ii) any loss or

damage thereto occurring or arising in any manner or fashion from any cause, (iii) any

diminution in the value thereof or (iv) any act or default of any carrier, servicer, bailee, custodian,

forwarding agency or other person and (b) all risk of loss, damage or destruction of the DIP

Collateral shall be borne by the Loan Parties.

       26.     26.     InterimFinal Order Governs. In the event of any inconsistency between

the provisions of this InterimFinal Order and the DIP Documents or any other order entered by

this Court, the provisions of this InterimFinal Order shall govern. Notwithstanding anything to

the contrary in any other order entered by this Court, any payment made pursuant to any

authorization contained in any other order entered by this Court shall be consistent with and

subject to the requirements set forth in this InterimFinal Order and the DIP Documents,

including, without limitation, the Approved Budget.

       27.     Binding Effect; Successors and Assigns. The DIP Documents and the provisions

of this InterimFinal Order, including all findings herein, shall be binding upon all parties in

interest in these Cases, including, without limitation, the DIP Agent, the DIP Lenders, the

Prepetition Secured Parties, any statutory or non-statutory committees appointed or formed in

these Cases, the Debtors and their respective successors and assigns (including any chapter 7 or

chapter 11 trustee hereinafter appointed or elected for the estate of any of the Debtors, an

examiner appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary

appointed as a legal representative of any of the Debtors or with respect to the property of the

estate of any of




                                                  80
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 82 of 92
          CaseCase 20-3948
      27.   the Debtors) and shall inure to the benefit of the DIP Agent, the DIP Lenders, the

Prepetition Secured Parties and the Debtors and their respective successors and assigns; provided

that the DIP Agent, the DIP Lenders and the Prepetition Secured Parties shall have no obligation

to permit the use of the Prepetition Collateral (including Cash Collateral) by, or to extend any

financing to, any chapter 7 trustee, chapter 11 trustee or similar responsible person appointed for

the estates of the Debtors.

               Limitation of Liability. In determining to make any loan or other extension of

credit under the DIP Credit Agreement, to permit the use of Cash Collateral or in exercising any

rights or remedies as and when permitted pursuant to this InterimFinal Order or the DIP

Documents, the DIP Agent and the DIP Lenders shall not (i) be deemed to be in “control” of the

operations of the Debtors; (ii) owe any fiduciary duty to the Debtors, their respective creditors,

shareholders or estates; and (iii) be deemed to be acting as a “Responsible Person” or “Owner” or

“Operator” with respect to the operation or management of the Debtors (as such terms or similar

terms are used in the United States Comprehensive Environmental Response, Compensation and

Liability Act, 29 U.S.C. §§ 9601, et seq., as amended, or any similar federal or state statute). The

Prepetition Secured Parties shall not (i) be deemed to be in “control” of the operations of the

Debtors; (ii) owe any fiduciary duty to the Debtors, their respective creditors, shareholders or

estates; and (iii) be deemed to be acting as a “Responsible Person” or “Owner” or “Operator”

with respect to the operation or management of the Debtors (as such terms or similar terms are

used in the United States Comprehensive Environmental Response, Compensation and Liability

Act, 29 U.S.C. §§ 9601, et seq., as amended, or any similar federal or state statute).

       28.     Master Proof of Claim. The Prepetition Agents shall not be required to file proofs

of claim in the Cases or any successor case in order to assert claims on behalf of itself and the




                                                 81
     Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 83 of 92
          CaseCase 20-3948



Prepetition Secured Parties for payment of the Prepetition Debt arising under the Prepetition

Credit Agreements. The statements of claim in respect of the Prepetition Debt set forth in this

InterimFinal Order, together with any evidence accompanying the Motion and presented at the

InterimFinal Hearing, are deemed sufficient to and do constitute proofs of claim in respect of

such debt and such secured status. However, in order to facilitate the processing of claims, to

ease the burden upon the Court and to reduce an unnecessary expense to the Debtors’ estates,

each Prepetition Agent is authorized, but not required, to file in the Debtors’ lead chapter 11 case

Fieldwood Energy LLCInc., Case No. 20-33948 (MI), a single, master proof of claim on behalf

of the relevant Prepetition Secured Parties on account of any and all of their respective claims

arising under the applicable Prepetition Credit Agreements and hereunder (each, a “Master

Proof of Claim”) against each of the Debtors. Upon the filing of a Master Proof of Claim

against each of the Debtors, the Prepetition Agents and the Prepetition Secured Parties, and each

of their respective successors and assigns, shall be deemed to have filed a proof of claim in the

amount set forth opposite its name therein in respect of its claims against each of the Debtors of

any type or nature whatsoever with respect to the applicable Prepetition Credit Agreements, and

the claim of each Prepetition Secured Party (and each of its respective successors and assigns),

named in a Master Proof of Claim shall be treated as if such entity had filed a separate proof of

claim in each of these Cases. The Master Proofs of Claim shall not be required to identify

whether any Prepetition Secured Party acquired its claim from another party and the identity of

any such party or to be amended to reflect a change in the holders of the claims set forth therein

or a reallocation among such holders of the claims asserted therein resulting from the transfer of

all or any portion of such claims. The provisions of this paragraph 28 2‎ 8 and each Master Proof

of Claim are intended solely for the purpose of administrative convenience and shall not affect

the right of each



                                                 82
Case 20-33948     Document 333-2 Filed in TXSB on 09/13/20 Page 84 of 92
     CaseCase 20-3948




                                  83
      Case 20-33948        Document 333-2 Filed in TXSB on 09/13/20 Page 85 of 92
            (Jase Case 20-3948
       28.    Prepetition Secured Party (or its successors in interest) to vote separately on any

plan proposed in these Cases. The Master Proofs of Claim shall not be required to attach any

instruments, agreements or other documents evidencing the obligations owing by each of the

Debtors to the applicable Prepetition Secured Parties, which instruments, agreements or other

documents will be provided upon written request to counsel to the applicable Prepetition Agent.

         29.   29.     Insurance. To the extent that any of the Prepetition Agents is listed as loss

payee under the Borrower’s or Guarantors’ insurance policies, the DIP Agent is also deemed to

be the loss payee for the Prepetition Secured Parties under such insurance policies and shall act

in that capacity and distribute any proceeds recovered or received in respect of any such

insurance policies, first, to the payment in full of the DIP Obligations (other than contingent

indemnification obligations as to which no claim has been asserted) and second, to the payment

of the Prepetition Debt owed to the Prepetition Secured Parties.

         30.   30.     Effectiveness. This InterimFinal Order shall constitute findings of fact and

conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the Petition

Date immediately upon entry hereof. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

6006(d), 7062, or 9014 of the Bankruptcy Rules or any Local Bankruptcy Rule, or Rule 62(a) of

the Federal Rules of Civil Procedure, this InterimFinal Order shall be immediately effective and

enforceable upon its entry. Notwithstanding anything to the contrary herein, the Closing Date

shall occur no earlier than August 11, 2020 at 10:00 a.m. CT. and there shall be no stay of

execution or effectiveness of this Final Order.

         31.   31.     Headings. Section headings used herein are for convenience only and are

not to affect the construction of or to be taken into consideration in interpreting this InterimFinal

Order.

         32.   Payments Held in Trust. Except as expressly permitted in this InterimFinal

Order or the DIP Documents, in the event that any Prepetition Secured Party receives any

payment on

                                                  84
Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 86 of 92
     Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 87 of 92
          CaseCase 20-3948
      32.   account of a security interest in DIP Collateral, receives any DIP Collateral or any

proceeds of DIP Collateral or receives any other payment with respect thereto from any other

source prior to indefeasible payment in full in cash of all DIP Obligations under the DIP

Documents, and termination of the DIP Commitments in accordance with the DIP Documents,

such Prepetition Secured Party shall be deemed to have received, and shall hold, any such

payment or proceeds of DIP Collateral in trust for the benefit of the DIP Agent and the DIP

Lenders and shall immediately turn over such proceeds to the DIP Agent, or as otherwise

instructed by this Court, for application in accordance with the DIP Documents and this

InterimFinal Order.

       33.     33.     Credit Bidding. (a) The DIP Agent, as directed by the Required Lenders

under the DIP Documents, shall have the right to credit bid on behalf of the Senior DIP Secured

Parties, in accordance with the DIP Documents, up to the full amount of the DIP Obligations in

any sale of the DIP Collateral, and (b) subject to any applicable Intercreditor Agreement, the

Prepetition Secured Parties shall have the right to credit bid on behalf of the Prepetition Secured

Parties, up to the full amount of their Prepetition Debt in any sale of the DIPPrepetition

Collateral, in each case, as provided for in and subject to section 363(k) of the Bankruptcy Code,

without the need for further Court order authorizing the same and whether any such sale is

effectuated through section 363(k) or 1129(b) of the Bankruptcy Code, by a chapter 7 trustee

under section 725 of the Bankruptcy Code, or otherwise.

       34.     Dutch Distributions. Nothing in this Final Order or in any DIP Document shall

prejudice, impair, limit or otherwise be deemed a waiver of the right of any party in interest

(including the Creditors’ Committee) to seek determination by the Court (made after a hearing on

notice to affected parties) that the distributions described in section 6.27 of the DIP Credit

Agreement are not encumbered by the Prepetition Liens of the Prepetition Lenders or otherwise

constitute Collateral (as defined in the applicable Prepetition Credit Agreement) and all such

rights are fully and expressly preserved and shall be subject to the Challenge Period.

                                                 86
     Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 88 of 92
          CaseCase 20-3948
      35.   34.       Intercreditor Agreements. Nothing in this InterimFinal Order shall amend

or otherwise modify the terms or enforceability of the Intercreditor Agreements, including

without limitation, the turnover and bankruptcy-related provisions contained therein, and the

Intercreditor Agreements shall each remain in full force and effect. The rights of the Prepetition

Secured Parties shall at all times remain subject to the Intercreditor Agreements.




                                                87
      Case 20-33948      Document 333-2 Filed in TXSB on 09/13/20 Page 89 of 92
           CaseCase 20-3948
       36.   35.      Bankruptcy Rules. The requirements of Bankruptcy Rules 4001, 6003 and

6004, in each case to the extent applicable, are satisfied by the contents of the Motion.

       37.     36.      Necessary Action. The Debtors are authorized to take all such actions as

are necessary or appropriate to implement the terms of this InterimFinal Order.

       38.     37.      Retention of Jurisdiction. The Court shall retain jurisdiction to enforce the

provisions of this InterimFinal Order, and this retention of jurisdiction shall survive the

confirmation and consummation of any chapter 11 plan for any one or more of the Debtors

notwithstanding the terms or provisions of any such chapter 11 plan or any order confirming any

such chapter 11 plan.

       39.     38.      Subject to Section 553 of the Bankruptcy Code and applicable law,

nothing in this InterimFinal Order is intended to limit, impact or affect, in any way, any rights to

set off or recoupment that the United States may have, all of which are expressly reserved.

       40.     39.      Notwithstanding anything to the contrary in this Final Order, the liens

granted in this Final Order, if any, against any of the Debtors’ interests in the federal leases,

grants of pipeline rights of way and rights of use and easement, shall not grant the applicable

lender any greater rights or interests in the applicable leases, grants of pipeline rights of way

and/or rights of use and easement than those to which the Debtors are entitled. For the avoidance

of any doubt, to the extent that any pre-petition secured parties or post-petition lenders foreclose

on any pre-petition liens, adequate protection liens and/or post-petition liens, all regulatory and

contractual requirements that apply to such leases, rights of way and rights of use and easement

shall be preserved, subject to any defenses that may apply.

       40.     Final Hearing. The Final Hearing is scheduled for August 24, 2020 at 1:30 p.m.

(CST) before this Court.




                                                  88
      Case
      Case20-33948    Document 333-2
           20-3948 Document            Filedon
                               54-1 Filed    in 08/05/2
                                                TXSB onin09/13/20 Page6090ofof60
                                                          TXSB Page            92
       Case 2®- 3 3948 Document 58 Filed in TXSB on ® 8/®5/2® Page 6® of 6®


        41.    Objections. Any party in interest objecting to the relief sought at the Final Hearing

shall file and serve written objections, which objections shall be served upon (i) the U.S. Trustee;

(ii) the Debtors’ 30 largest unsecured creditors on a consolidated basis; (iii) Shipman & Goodwin

LLP, One Constitution Plaza, Hartford, Connecticut 06103 (Attn: Kathleen M. LaManna, Esq.

and Nathan Z. Plotkin, Esq.) as counsel to the DIP Agent, the Prepetition FLTL Agent and the

FLFO Collateral Agent; (iv) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York,

New York 10017 (Attn: Damian S. Schaible, Esq., Natasha Tsiouris, Esq. and Joshua Y. Sturm,

Esq.) as primary counsel to certain DIP Lenders; (v) Vinson & Elkins, LLP, Trammell Crow

Center, 2001 Ross Avenue, Suite 3900, Dallas, TX 75201 (Attn: William L. Wallander, Esq. and

Brad Foxman, Esq.)) as primary counsel to the Prepetition FLFO Administrative Agent; (vi)

counsel to the Prepetition SLTL Agent; (vii) the Internal Revenue Service; (viii) the United

States Attorney’s Office for the Southern District of Texas, (ix) those persons who have formally

appeared in these chapter 11 cases and requested service pursuant to Bankruptcy Rule 2002; and

(x) any other party that has filed a request for notices with this Court, in each case to allow actual

receipt by the foregoing no later than August 20, 2020 at 4:00 p.m. (CST), prevailing Central

Time.

        41.    42.     The Debtors shall promptly serve copies of this InterimFinal Order (which

shall constitute adequate notice of the Final Hearing) to the parties having been given notice of

the InterimFinal Hearing, to any party that has filed a request for notices with this Court.


Signed : August 05, 2020


                                                                        BANKRUPTC




                                                  89
Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 91 of 92
Case 20-33948 Document 333-2 Filed in TXSB on 09/13/20 Page 92 of 92




                              Summary report:
    Litera® Change-Pro for Word 10.8.2.11 Document comparison done on
                            9/13/2020 9:10:29 PM
 Style name: Default Style
 Intelligent Table Comparison: Active
 Original filename: FWE Interim DIP Order.pdf
 Modified filename: FWE - Final DIP Order-93552837-v19 (Weil
 Comments)_WEIL_97623041_31.DOCX
 Changes:
 Add                                                      546
 Delete                                                   873
 Move From                                                19
 Move To                                                  19
 Table Insert                                             0
 Table Delete                                             0
 Table moves to                                           0
 Table moves from                                         0
 Embedded Graphics (Visio, ChemDraw, Images etc.)         1
 Embedded Excel                                           0
 Format changes                                           0
 Total Changes:                                           1458
